     Loren D. Podwill
 1   BULLIVANT HOUSER BAILEY PC
     300 Pioneer Tower
 2   888 SW Fifth Avenue
     Portland, Oregon 97204-2089
 3   Telephone: 503.228.6351
     Facsimile:    503.295.0915
 4
     Attorneys for HM.Clause, Inc.
 5
 6
 7
 8
 9                       IN THE UNITED STATES BANKRUPTCY COURT
10                               FOR THE DISTRICT OF OREGON
     In re:                                     Chapter 11
11
   NORP AC FOODS, INC., HERMISTON                   No.: 19-62584-pcml I
12 FOODS, LLC, and QUINCY FOODS,                    LEAD CASE
   LLC,
13                                                  (Jointly Administered with Case Nos. 19-
                         Debtors.                   33102-pcm11 and 19-33103-pcmll)
14
                                                    HM.CLAUSE, INC.'S LIMITED
15                                                  OBJECTION TO AMENDED
                                                    MOTION FOR ORDER APPROVING
16                                                  BID AND SALE PROCEDURES AND
                                                    SALE OF ASSETS FREE AND CLEAR
17                                                  OF LIENS, CLAIMS, AND
                                                    ENCUMBRANCES
18
19
20            By and through the undersigned counsel, HM.Clause, Inc. ("HM.Clause") submits

21 this limited objection in response to the Amended Motion for Order Approving (AJ Bid and
22 Sale Procedures, Including Expense Reimbursement Fee, to Oregon Potato Company; (BJ
23 Sale of Assets Free and Clear of Liens, Claims, and Encumbrances; and (CJ Assumption of
24 Executory Contracts (hereinafter "the Sale Motion"). In support of this limited objection,
25 HM.Clause represents the following.

26 I_!_/
PAGE 1- HM.CLAUSE, INC.'S LIMITED OBJECTION TO AMENDED MOTION FOR           BullivautlHouserlBailey PC
        ORDER APPROVING BID AND SALE PROCEDURES AND SALE OF                 300 Pioneer Tower
                                                                            888 SW Fifth Avenue
        ASSETS FREE AND CLEAR OF LIENS, CLAIMS, AND ENCUMBRANCES            Portland, Oregon 97204-2089
                                                                            Telephone: 503.228.6351




                        Case 19-62584-pcm11        Doc 322    Filed 10/31/19
                                   FACTUAL BACKGROUND
 1
 2         1.     Pursuant to a master supply agreement entered into between HM. Clause and

 3 Norpac Foods, Inc. (“Norpac”), Norpac requested certain seed and/or grain from HM.Clause
 4 and HM.Clause delivered that seed and/or grain to Norpac before August 22, 2019 (“the
 5 Petition Date”).
 6         2.     Payments for the seed and/or grain delivered by HM.Clause to Norpac was

 7 due on or about July 31, 2019, and remain unsatisfied.
 8         3.     HM.Clause continued statutory perfection of its automatic lien pursuant to

 9 ORS 87.755 and 87.762 as to Norpac by filing its extension of Grain Producer’s Lien with
10 the Oregon Secretary of State on October 28, 2019 (“the Norpac Grain Lien”). The Norpac
11 Grain Lien was assigned Lien Number 92084714. A true and correct copy of this Norpac
12 Grain Lien Extension is attached hereto as Exhibit A.
13         4.     Although the Norpac Grain Lien Extension (Exhibit A) includes some delivery

14 dates over the 180 days allowed by ORS 87.755 et seq., the entire amount of the Norpac
15 Grain Lien is based upon the one master supply contract which calls for deliveries
16 throughout the season but is not completed until the last date of delivery which is within the
17 180-day extension limit.
18         5.     HM.Clause filed its Proof of Claim on September 12, 2019. A true and correct

19 copy of the Proof of Claim is attaehed hereto as Exhibit B.
20         6.     HM.Clause files its Amended Proof of Claim concurrently with this objection.

21 A true and correet copy of the Amended Proof of Claim is attached hereto as Exhibit C.
22         7.     Norpac filed the Sale Motion on September 3, 2019. Dkt. 83. The Sale

23 Motion asks that the Court approve the bidding and sales procedures, including expense
24 reimbursement fees, and that the Court approve the sale of substantially all Norpac’s assets
25 to the successful bidder if there is an auction, or otherwise to Oregon Potato Company.
26 Approval of these requests shall authorize the assumption by Norpac and assignment to the
PAGE 2- HM.CLAUSE, INC.'S LIMITED OBJECTION TO AMENDED MOTION FOR             Bullivant|Houscr|Bailey PC
        ORDER APPROVING BID AND SALE PROCEDURES AND SALE OF                  300 Pioneer Tower
                                                                              888 SW Fifth Avenue
        ASSETS FREE AND CLEAR OF LIENS, CLAIMS, AND ENCUMBRANCES              Portland, Oregon 97204-2089
                                                                              Telephone: 503.228.6351




                       Case 19-62584-pcm11         Doc 322       Filed 10/31/19
successful bidder or to Oregon Potato Company of certain executory contracts.

       8.      On September 25, 2019, the Court entered the Order (A) Approving Bid

Procedures, (B) Scheduling an Auction and Hearing to Consider Sale ofDebtors ’ Real
Property, and (C) Establishing Deadlines. Dkt. 203. The Order authorizes an auction and

sale of certain of Norpac’s assets. Id.
       9.      On September 25, 2019, Norpac filed its Bid Procedures for Submission,

Receipt, and Analysis of Bids in Connection with the Sale of Assets. Dkt. 205.
                                  LIMITED OBJECTION

       10.     HM.Clause objects to the Sale Motion to the extent its approval adversely
effects its lien rights. Any order approving a sale to the highest or best bidder must provide

that (1) HM.Clause’s secured claim is paid in full from the proceeds of the sale, or,

alternatively, (2) that sale proceeds sufficient to pay the secured claim in full are held in
reserve subject to the Norpac Grain Lien pending determination of the validity,
enforceability and/or priority of HM.Clause’s secured claim.
       11.     HM.Clause’s Norpac Grain Lien is a senior secured lien on the proceeds of the

sale pursuant to the Grain Producer Lien statutes.
       12.     Under ORS 87.755, “[a]n agricultural producer that delivers or transfers grain
for consideration has a lien on the inventory of the purchaser and proceeds received by the

purchaser from the selling of the inventory.” ORS 87.755(1).

       13.     ORS 87.750 defines “agricultural producer” as “a person that engages in or
has engaged in the business of growing or producing grain for market or delivery or transfer

to others owning or holding title to the grain.” ORS 87.750(1).

       14.     ORS 87.750 defines “grain” as “wheat, seed, corn used for animal feed, oats,
barley, rye, flaxseed, certified alfalfa seed, agricultural seed * * * vegetable seed as defined

in ORS 633.511 * * * and any other grain for which standards are established or followed by
the State Department of Agriculture.” ORS 87.750(2).




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        15.    Here, HM.Clause is an “agricultural producer” that delivered “grain” to
Norpac within the meaning of ORS 87.750 and 87.755.

       16.     Because HM.Clause delivered grain to Norpac for promised consideration,
HM. Clause has an automatic lien pursuant to ORS 87.755. HM.Clause continued perfection
of that lien by filing the Grain Producer Lien extensions for Norpac on October 28, 2019.

Therefore, HM.Clause has perfected its statutory grain producer lien pursuant to ORS 87.762

and that lien attaches to proceeds from the sale by Norpac of the grain, including resulting
crops and any sale proceeds thereof

       17.     Pursuant to ORS 87.755(3), all grain producer liens which satisfy the statute
are of equal priority and payable pro rata in proportion to the size of each lien:
               *     Except as provided in ORS 87.762 (Filing notice of lien)
               (4), all liens of the class created under subsection (1) of this
               section, regardless of the date of attachment or the date of notice
               of lien, are of equal priority and payable pro rata in proportion
               to the size of each lien.

ORS 87.755(3).

       18.    HM.Clause objects to any order for sale which acts to deny HM.Clause of its

statutory protections afforded under the Grain Producer Liens and/or authorizes Norpac to
pay proceeds of the sale to parties not within the Grain Producer Lien class.

       19.    Because HM.Clause has a perfected statutory lien with priority for the grain
sold and delivered to Norpac, HM.Clause asks for the inclusion of terms or provisions in any
order of sale which will require proceeds of the grain to be paid directly to HM.Clause at

closing of the sale in satisfaction of HM.Clause’s grain producer liens.

       20.    In the alternative, and/or in the event of dispute over priority, enforceability, or
perfection of the liens which HM.Clause attached to Norpac, then the order of sale should

require that Norpac place funds in reserve which are sufficient to satisfy those liens.

       21.    Like HM.Clause, at least two other lien holders have filed similar objections




                   Case 19-62584-pcm11           Doc 322     Filed 10/31/19
 1 Seminis Vegetable Seeds, Inc. (Dkt. 271) and Syngenta Seeds, LLC (Dkt. 263).
                                               CONCLUSION
 2
 3             22.      Any order of sale which authorizes such should provide that HM.Clause’s

 4 grain producer liens attached to Norpac be paid in full with sale proceeds or, in the
 5 alternative, that enough funds to satisfy the liens are placed in reserve until the validity,
 6 priority, or enforceability of HM.Clause’s liens are challenged and decided.
 7
              DATED: October 31,2019
 8
                                                   BULLIVANT HOUSER BAILEY PC
 9
10
                                                   By s/ Loren D. Podwill_______________
11                                                    Loren D. Podwill, OSB #843241
                                                      E-mail: loren.podwill@bullivant.com
12
                                                   Attorneys for HM.Clause, Inc.
13
14   4843-6489-2075.1


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PAGE 5- HM.CLAUSE, INC.'S LIMITED OBJECTION TO AMENDED MOTION FOR               Bullivant|Houser|Bailey PC
        ORDER APPROVING BID AND SALE PROCEDURES AND SALE OF                     300 Pioneer Tower
                                                                                888 SW Fifth Avenue
        ASSETS FREE AND CLEAR OF LIENS, CLAIMS, AND ENCUMBRANCES                Portland, Oregon 97204-2089
                                                                                Telephone; 503,228.6351




                           Case 19-62584-pcm11        Doc 322     Filed 10/31/19
                                   CERTIFICATE OF SERVICE

 2          1 hereby certify that on the 31st day of October, 2019,1 caused to be served the

 3 foregoing HM. Clause, Inc.’s Limited Objection to Amended Motion for Order Approving

 4 Bid and Sale Procedures and Sale of Assets Free and Clear of Liens, Claims, and

 5
     Encumbrances on the following parties at the following addresses:
 6
 7
   Alvarez & Marsal North America, LLC
 8 425 Market St.
   San Francisco, CA 94105
 9
10 Ronald David Paul Bruckmann
   Shumaker, Loop & Kendrick, LLP
11 101 S. TyronSt. #2200
   Charlotte, NC 28280
12
   Scott Cargill
13
   Lowenstein Sandler LLP
14 One Lowenstein Dr.
   Roseland, NJ 07068
15
   Kate Ellis
16 McCarron & Diess
17 4530 Wisconsin Ave. NW #301
   Washington, DC 20016
               /
18
   International Paper Co.
19 6400 Poplar Ave.
   Memphis, TN 38197
20

21 Christopher M. Kieman
   Blakeley LLP
22 18500 Von Karman Ave. #530
   Irvine, CA 92612^
23
   Barrett Marum
24 379 Lytton Ave.

25 Palo Alto, CA 94301-1479
26
PAGE 1- CERTIFICATE OF SERVICE                                                Bullivant|Houser|Bailey PC
                                                                              300 Pioneer Tower
                                                                              888 SW Fifth Avenue
                                                                              Portland, Oregon 97204-2089
                                                                              Telephone: 503.228.6351




                       Case 19-62584-pcm11          Doc 322     Filed 10/31/19
Mohawk Northern Plastics, LLC dba Ampac
701 A. Street NE
Auburn, WA 98002

Bruce S. Nathan
1251 Avenue of the Americas
New York, NY 10020

Jeffrey D. Prol
Lowenstein Sandler LLP
One Lowenstein Dr.
Roseland, NJ 07068

Packaging Corporation of America
1 N. Field Court
Lake Forest, IL 60045

Pension Benefit Guaranty Corp
1200 K. St., NW
Washington, DC 20005

Dennis M. Ryan
2200 Wells Fargo Center
90 S. Seventh St.
Minneaplois, MN 55402-3901

Michael R. Stewart
2200 Wells Fargo Ctr.
90 S. Seventh St.
Minneapolis, MN 55402-3901

SierraConstellation Partners LLC
400 S. Hope St. #1050
Los Angeles, CA 90071

George Smith
9601 OakmontLane
Stayton, OR 97383

Syngenta Seeds, LLC
POBox 18300
Greensboro, NC 27419



                                                                Bullivant|Houser|Bailey PC
                                                                300 Pioneer Tower
                                                                888 SW Fifth Avenue
                                                                Portland, Oregon 97204-2089
                                                                Telephone; 503,228.6351




                 Case 19-62584-pcm11      Doc 322   Filed 10/31/19
     by:
 1
 2                 U.S. Postal Service, ordinary first class mail
                   U.S. Postal Service, certified or registered mail, return receipt requested
                   Hand Delivery
 3                 E-Service
                   Other (specify) __________________________
 4
     All other parties will receive service through the EOF service
 5
 6                                              BULLIVANT HOUSER BAILEY PC

 7
 8                                              By s/ Loren D. Podwill
                                                   Loren D. Podwill, OSB #843241
 9                                                 E-mail: loren.podwill@bullivant.com

10                                              Attorneys for HM. Clause, Inc.

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PAGE 3- CERTIFICATE OF SERVICE                                                 BuIlivant|Houser|Bailey PC
                                                                               300 Pioneer Tower
                                                                               888 SW Fifth Avenue
                                                                               Portland, Oregon 97204-2089
                                                                               Telephone: 503,228.6351




                        Case 19-62584-pcm11          Doc 322     Filed 10/31/19
            EXHIBIT A




Case 19-62584-pcm11   Doc 322   Filed 10/31/19
                                                                                                                                               -AAdJL
■Oct. 25.2019 4;31PM
                                                                                                                       FILED: OCT 28,2019 05:00 PAH
                                                                                                                      OREGON SECRETARY OF STATE




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                          SlMn,OR8731(»-1S27
                          F1lon«:(603)98e>Z208
                          Fnc (503) 373-1166
                                                                                                         GL
                                                                                                                               ■I
                                                                                                                            UEN NO. 92084714               NORPAC FOODS. INC.


                          FAmginoreson.^                                                                                              (Reserved for FHIns Officer Use)

GL-1                      Notice of Filing Extansioiri of Grain Producer's Lien
In keeping wilh ORS 182.410-182.S85, Ihe infoimsvon on IhO sppUcaUon Is public raeord.                                                        Pursuari to <»S 87.762 .
We must release Ibis inlotinalion lo ell parlies upon regueei ond U may ba poalad on our wabclia.
Please Type or Piinl Legibly in Black Ink. Attach AddiHonal Sheet If Necesfiary.
DEBTOR                                                                                                   Check ONE |r individual, llsl last name llraL
   Purchaser:'(MftME Norpac Foods, Inc.                                                                  fZI-Business □-Individual

                         2HAME                                                                           □-BuslnBBO □-indMdoel
    MAIUKS ADDRESS
                          930 W Washington St.
                          Stavton                                                      OR                                                          97383-1501
                         CtlY                                                         "SfATE"                                                      2IPCODE
     Producer;                   HM.CIause, I'nc,
    MAajNeADCME^
                          260 Cousteau Place, Suite 210

                          Davis                                                        CA                                                          95618
                         CITY                                                          STATE                                                       OPCODE


Statement Amount of Producer’s Demand (alter paduoins Ail cradiiaand oiiaeis): $                 1,793,704,69_______
Description of Produce Delivered or Transferred By;                       Vegetable seed - beans, com, cauliflowar, squash. The amount claimed is a liua
                                                                          and bona fide enisling debt as of the date of this notice of lien.


Date Payment Originaluy Due: 7/31/2019




I hereby declare that ihe above statement Is true to the beat of my knowiedge and belief, and that I understand K Is made for use as eiddence In
court and Is subject to penalty for perjury.

     Signature of Claimant or Represenlaiive;                                                      Pdnied Name:


                                                                                                    Vartan Saravia




                       RETURN TO (Please Type or Print within Ihe box):                  PEES
     Attn: Vartan Saravia                                                                RequiiedPracesdngFee $1E.OO          PnieesdneFeesaieitonteliinitetile.
     HM.CIause, Inc.                                                                     nsaia mails d»ck payaMa (o ‘'Coipoialian DMsIon.’'
     260 Cousteau PI. Ste. 210                                                           NOTE:
     Davis, CA 95618                                                                     Fees may be paM wlin V)GA or MaslarCaid. Ths cam number an) eapiralon data should be
                                                                                         subrruiled on a separala shoot lor your protactlon.

   4SD (01/12)




                                                                                                                                       Exhibit A, Page 1 of 2
                                            Case 19-62584-pcm11                       Doc 322             Filed 10/31/19
Oct. 25.201 9 4;31PM                                                                     No. 0056    P. 3




                              EXHIBIT A TO NOTICE OF GRAIN PRODUCERS LIEN


        1, Pursuant to agreements between Norpac Foods, Inc. ("Debtor") and HM.Clause, Inc. ("Producer"),
           Debtor requested certain seed, and such seed was delivered by Producer to Debtor pursuant to
           the following Invoices:

                     Product Type.?' ' Invoice ‘       Arnount             Due Date ;
                             Beans 18202226        $   193,841.30            7/31/2019
                             Beans 18203370        $    41,040.00            7/31/2019
                             Beans 18203371        $    99,850.00            7/31/2019
                      Beans & Corn 18204118        $   300,630.00            7/31/2019
                             Beans 18204119        $    22,800,00            7/31/2019
                              Corn 18204573        $    96,896,98            7/31/2019
                             Beans 18204574        $    77,010.74            7/31/2019
                              Caul. 18204617       $   159,158.13            7/31/2019
                             Beans 18204736        $    99,900.00            7/31/2019
                             Squa. 18204755        $    27,737.02            7/31/2019
                             Beans 18204771        $   110,690.00            7/31/2019
                              Caul. 18204776       $     3,760.88            7/31/2019
                             Beans 18204867        $   104,332.80            7/31/2019
                              Corn 18204868        S    22,400.00            7/31/2019
                              Corn 18205417        $    10,017.89            7/31/2019
                             Beans 18205006        $   174,748.00            7/31/2019
                             Beans 18205035        $    71,796.80            7/31/2019
                              Corn' 18205036       $   143,814.20            7/31/2019
                             Beans 18205162        s     8,156,17            7/31/2019
                             Beans 18205294        $    20,884.80            7/31/2019
                              Corn 18205295        $     4,238.98            7/31/2019




                                                                                      Exhibit A, Page 2 of 2
                       Case 19-62584-pcm11             Doc 322      Filed 10/31/19
           EXHIBIT B



Case 19-62584-pcm11   Doc 322   Filed 10/31/19
                                                                                                                                            Claim #87 Date Filed: 9/12/2019



      Fill In this Information to identify the case

      Debtor 1              NORPAC Foods, Inc,

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the; District Of Oregon

      Case number           19-62584_________          ___________



     Official Form 410
     Proof of Claim                                                                                                                                                    04/19

     Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
     make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
     Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
     documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
     mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
     explain in an attachment.
     A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both, 18 U.S.C. §§ 152, 157, and 3571.

     Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                    Identify the Claim


 1. Who is the current
    creditor?
                                       HM.Clause, Inc.
                                       Name of the current creditor (the person or entity to be paid for this claim)

                                       Other names the creditor used with the debtor      ___________________

2.     Has this Claim been
                                       Si No
       acquired from
       someone else?
                                       □ Yes.      From whom? ,


3. Where should notices                Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                             different)
   creditor be sent?
                                        Coface North America Insurance Company
       Federal Rule of                 Name                                                                        Name
       Bankruptcy Procedure
       (FRBP) 2002(g)                  650 College Road East, Suite 2005
                                       Number           Street                                                     Number          Street
                                        Princeton,                        NJ               08540
                                       City                              State                   ZIP Code          City                           State                ZIP Code

                                                         609-469-0459                                              Contact phone
                                       Contact phone

      SEP        i 2 201 §            Contact email    amy .schmidtfgcoface.com                                    Contact email



                                       Uniform claim identifier for electronic payments in chapter 13 (if you use one):




14     Does this Claim amend                  No
       one already filed?              □Yes. Claim number on court claims registry (if known) ^                                              Filed on
                                                                                                                                                        MM   / DD   / YYYY


|5. Do you know if anyone                No
    else has filed a proof             Q yes. Who made the earlier filing?
!   of Claim for this Claim?


                                [/d
                                  Date Stamped Copy Returned
      Official Form 410 ^ No Self addressed stamped envelopep^oof of ciaim
                                □ No copy to return
                                                                                                                l■^lllll■lllllllllllllllil
                                                                                                                          1962584190912000000000003
                                                                                                                                            Exhibit B, Page 1 of 38
                                          Case 19-62584-pcm11                              Doc 322               Filed 10/31/19
                  Give Information About the Claim as of the Date the Case Was Filed

    6   Do you have any number        □ No
1       you use to identify the       &J Yes 1 a.st 4 riinits of the debtor's account or anv number vou use to identify the debtor:     12         7      6
        debtor?



    7   How much is the claim?           $                    1,793,704.69 , Does this amount include interest or other charges?
                                                                                No
                                                                             □ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                     charges required by Bankruptcy Rule 3001(c)(2)(A).


\8. What is the basis of the          Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
I             ■                       Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (o).
                                      Limit disclosing information that is entitled to privacy, such as health care information.

                                      Goods Sold


    9   is all or part of the claim   2i No
        secured?                      □ yes. The claim is secured by a lien on property.
                                                Nature of property:
                                                □ Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                               Attachment (Official Form 410-A) with this Proof of Claim.
                                                □ Motor vehicle
                                                □ Other. Describe:________________________________


                                                Basis for perfection:        ____________________________________________________ _
                                                Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                                been filed or recorded.)


                                                Value of property:                           $_
                                                Amount of the claim that is secured:         S

                                                Amount of the claim that is unsecured: $                              _(The sum of the secured and unsecured
        SEP 1 2 2018                                                                                                   amounts should match the amount in line 7.)


                                                Amount necessary to cure any default as of the date of the petition:               $_


                                               Annual Interest Rate (when case was filed)______ %
                                                □ Fixed
                                                □ Variable


10. Is this claim based on a          5^ No
    lease?
                                      □ Yes. Amount necessary to cure any default as of the date of the petition.


11. Is this claim subject to a        Sj No
    right of setoff?
                                      G Yes. Identify the property:




    Official Form 410                                                    Proof of Claim                                                         page 2

                                                                                                                    Exhibit B, Page 2 of 38
                                        Case 19-62584-pcm11                         Doc 322            Filed 10/31/19
12 Is all or part of the claim     si No
   entitled to priority under                                                                                                                      Amount entitled to priority
                                   □ Yes. Check one:
   11 U.S.C. § 507(a)?

   A Claim may be partly                 □ Domestic support obligations (including alimony and child support) under
   priority and partly                       11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
   nonpriority. For example,
   in some categories, the               □ Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                   personal, family, or household use. 11 U.S.C. § 507(a)(7).
   entitled to priority.
                                         □ Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                           bankruptcy petition is filed or the debtor's business ends, whichever is earlier.
                                           11 U.S.C. § 507(a)(4).

                                         □ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).
                                         □ Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

                                         □ Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.

                                         * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



            Sign Below

The person completing            Check the appropriate box:
this proof of claim must
sign and date It.                □       I am the creditor.
FRBP 9011(b).                    Sf      I am the creditor’s attorney or authorized agent.
 If you file this claim          Q       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electronically, FRBP
                                 Q       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
5005(a)(2) authorizes courts
to establish local rules
specifying what a signature
                                 I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
is,
                                 amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a
fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
fined up to $500,000,            and correct.
imprisoned for up to 5
years, or both.
                                 I declare under penalty of perjury that the foregoing is true and correct.
18 U.S.C. §§ 152,157, and
3571.
                                 Executed on date         09/09/2019_______
                                                          MM / DD    /   YYYY




                                         Signatur^

                                 Print the name'of the person who is completing and signing this claim:


                                 Name                   Amy Schmidt
                                                        First name                           Mi(d(Jle name                          Last name

                                 Title                  agent

                                 Company                Coface North America Insurance Company
SEP 1 2 20»                                             Identify the corporate servicer as the company if the authorized agent is a servicer.



                                 Address                650 College Road East, Suite 2005
                                                        Number            Street
                                                        Princeton                                                    NJ               08540
                                                        City                                                         state         ZIP Code

                                 Contact phone          609-469-0459                                                 Email         amy.schmidttajcoface.com




Official Form 410                                                          Proof of Claim                                                                page 3

                                                                                                                                      Exhibit B, Page 3 of 38
                                      Case 19-62584-pcm11                             Doc 322                Filed 10/31/19
  HM CLAUSE                                                                   Statement of Account
                                                                   Account No.         100794                Date:             07/31/19
                                                                                                             Page:                  1/2




Sold To:    NORPAC Foods, Inc.
            Attn: Jim Gill
            930 W. Washington
            Stayton OR 97383
            UNITED STATES



                                                                   ir.nicoc     £4 DiscotinVf ^ Payments   f^Reviseor    Outstanding
 Doc   Invoice     |DLr Dne
                                                                   Amount
                                                                                  '             * •'   4                ".If   f

  Rl   18202226      01/31/19        Sales Order910859    ' USD      959.50-                                     *D            959.50-


  Rl   18202226      07/31/19        Sales Order910859     USD    194,800.80                                     •D      194,800.80


  Rl   18203370      07/31/19        Sales Order9l0859     USD     41,040.00                                     •D       41,040.00


  Rl   18203371      07/31/19        Sales Order911807     USD     99,850.00                                     ‘D       99,850.00


  Rl   18204118      07/31/19        Sales Order911807     USD    300,630.00                                     •D      300,630.00


  Rl   18204119     07/31/19         Sales Order910859     USD     22,800.00                                     ■D       22,800.00


  Rl   18204573     07/31/19         Sales Order929975    USD      96,896.98                                     -D       96,896.98

  Rl   18204574     07/31/19         Sales Order930496    USD      77,010.74                                     *D       77,010.74

  Rl   18204617     07/31/19         Sales Order920379    USD     159,158.13                                     *D      159,158,13

  Rl   18204736     07/31/19         Sales Order931315    USD      99,900.00                                     ■D       99,900.00

  Rl   18204755     07/31/19         Sales OrdGr931322    USD      27,737.02                                     *D       27,737.02

  Rl   18204771     07/31/19         Sales Order910859    USD     110,690.00                                     *D     110,690.00

  Rl   18204776     07/31/19         Sales Order931726    USD       3,760.88                                    *D         3,760,88

  Rl   18204867     07/31/19         Sales Order910859    USD     104,332.80                                    ’D      104,332.80

  Rl   18204868     07/31/19         Sales Order932117    USD      22,400.00                                    *D        22,400.00

  Rl   18205006     07/31/19         Sales Order911807    USD     174,748.00                                    *D      174,748.00

  Rl   18205035     07/31/19         Sales OrderO11807    USD      71,796.80                                    •D        71.796.80

  Rl   18205036     07/31/19         Sales Order926753    USD     143,814.20                                    *D      143,814.20

  Rl   18205162     07/31/19         Sales Order937127    USD       8,156.17                                    •D         8,156.17

  Rl   18205294     07/31/19         Sales Ordergi 0859   USD     20,884.80                                     •D        20,884,80

  Rl   18205295     07/31/19         Sales Order937515    USD      4,238.98                                     *D         4,238.98




                                                                                           Exhibit B, Page 4 of 38
                                Case 19-62584-pcm11        Doc 322            Filed 10/31/19
  HM» CLAUSE                                                                              Statement of Account
       umHARRIS            ^CLAUSE                                                 Account No.      100794                 Date:             07/31/19
      >*MS1moran
                                                                                                                           Page:                 2/2




Sold To:     NORPAC Foods, Inc.
             Attn: Jim Gill
             930 W. Washington
             Stayton OR 97383
             UNITED STATES




  ACCOUNT SUMMARY
Payment Conditions:      .5%/30 Net 7/31                                                     Current Balance Due:                   1,793,704.69
BANK DETAILS:                              REMIT TO ADDRESS:                                 Discount Taken;
Bank of the West                           HM.CLAUSE, Inc,                                   Payments Received;
4701 Sisk Rd. Ste. 201                     ATTN: ACCTS REG.                                  Revise or Write-off;
Modesto, CA 95356                          260 Cousteau Place, Suite 210
ABA# 121-100782                            Davis, CA 95618                                                                          1,793,704.69
Acct# 746-008671                                                                             Current Balance Due:
SWIFT# BWSTUS66
IRS# XX-XXXXXXX
                                                                                                        Payment in favor of HM.CLAUSE, Inc.
                                                                 ACCOUNT AGING

        Future            " ^Current              1-30                     31-60            61-90            ■    91-120            120
                          1,>94,664.1                                                                                              959.50-


HM.CIause, Inc. 260 Cousteau Place, Suite 210 Davis, CA 95618 Tel: (530) 747-3700 Fax: (530) 747-3794                         Business Unit of
                                                                                                                               Limagrairt^


                                                                                                                 Exhibit B, Page 5 of 38
                                   Case 19-62584-pcm11                     Doc 322      Filed 10/31/19
   HM* CLAUSE                                                                                                             INVOICE
               ..Harris        -CCLAUSE                                           Invoice No.         18202226                                               Date:        01/31/19
               t^MORAN
                                                                                                                                                             Page:             1/2




      Sold To- NORPAC Foods, Inc,                                                      Shin To-       Norpac Foods Inc
                    Attn: Jim Gill                                                       ^            6175 Aviation Way
                    930 W. Washington                                                                 Silverton OR 97381
                    Stayton OR 97383                                                                  UNITED STATES
                    UN ITED!)STATES
           Cost No. 100794                                                                 Gust No.         101427
           VAT No,
 Incoterms           EXW NAMPA                                    Gust. Service        Karen Underwood
 Gross Weight        39517,24                                     Phone
 Net Weight          37597.76                                     Salesperson          Metzger, Kurt
 Packages            2104                                         Phone                503 930-4619
                                                                  Currency             USD
 Delivery Inst.           TRK - SHP 2 LOADS EARLY FEB                                  Payment             .5% / 30 Net 7/31
                          CALL1 WKB4 SHIPPING                                          Payment Instrument: Checks/Cheques


       Item                                                      Batch Lot                             Net Weight           Total
                                    Description                                     Quantity                                             Unit Price           Amount
                                                                 Prod Lot                                  KG              Quantity

  Order No.            910859 SO                Customer PO No. ACE FY19                                      Mode of Transport: Truckload
  Delivery No.            1843860               on 01/24/19              from           NAM                   Carrier:

  284670         Bean OSU 5630 Pro                                 G71584          1000.00 SP         18054.62           80000 KS              1.1400/KS            91200.00   N
                 Treat. Bag 80 Ks HM NS 4B                         G71584
                 Bean OSU 5630
  Bean OSU 5630                                                                                    Product Form: Raw      Treatment: Agris.Cap,Lots,Met,Ranc.Thir
  Germ: 85.0         Germ Date: 01/22/19       Phyto: 84467-18BG-S-F            Seed Count: 2010         Purity: 99.99         Seed Size:
  $1.09 + 0.07 treat = $1.16 ACE

  254670         Bean OSU 5630 Pro                                G71584             50.00 SP            902.73           4000 KS              1,1400/KS             4560,00   N
                 Treat. Bag 80 Ks HM NS 4B                        G71584
                 Bean OSU 5630
  Bean OSU 5630                                                                                    Product Form: Raw     Treatment: Agris.Cap,Lots,Mel.Ranc.Thir
  Germ: 85.0         Germ Date: 01/22/19      Phyto: 84467-18BG-S-FI            Seed Count: 2010         Purity: 99.99         Seed Size:

  866825         Bean OSU 5630 Pro                                G25706              4.00 SP             69.04            320 KS             1.1900/KS               380.80   N
                 Treat. Bag 80 Ks HM NS AL                       PL183484
                 Bean OSU 5630
  Bean OSU 5630                                                                                    Product Form: Raw     Treatment: Agris, Alleg, Cap, Lors, Thrm
  Germ: 81.0         Germ Date: 02/11/19      Phyto: 62302-17BG-R-FI            Seed Count: 2102         Purity: 99.99         Seed Size:
  batch to allocate G25706

  264670         Bean OSU 5630 Pro                                G71584            600.00 SP         10832,77           48000 KS             1.1400/KS             54720.00   N
                 Treat, Bag 80 Ks HM NS 4B                        G71584
                 Bean OSU 5630
  Bean OSU 5630                                                                                    Product Form: Raw Treatment: Agris,Cap,Lors,Met,Ranc.Thir
  Germ: 85,0         Germ Date: 01/22/19      Phyto: 84467-18BG-S-FI         Seed Count: 2010             Purity: 99.99   Seed Size:

  264670         Bean OSU 5630 Pro                                G71595            450.00 SP          7738.61           36000 KS             1.1400/KS             41040.00   N
                 Treat. Bag 80 KsHMNS4B                          PL213870
                 Bean OSU 5630
 Bean OSU 5630                                                                                    Product Form: Raw Treatment: Agris,Cap,Lots,Met.Ranc.Thir
 Germ: 83.0         Germ Date: 01/23/19       Phyto:         Seed Count: 2110          Purity: 99.99       Seed Size



               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tei: (630) 747-3700 Fax: (530) 747-3794 260 Cousteau
Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (530) 747-3794                                                                                  Business Unit of
IRS: XX-XXXXXXX
                                                                                                                                                            Limagrain 0|i‘


                                                                                                                        Exhibit B, Page 6 of 38
                                           Case 19-62584-pcm11                         Doc 322             Filed 10/31/19
  HM CLAUSE                                                                                                           INVOICE
             IHARRis      i#^LAUSE           i                                Invoice No.          18202226                                               □ate:        01/31/19
             Jmoran                         M
                                                                                                                                                          Page:             2/2




     Sold To: NORPAC Foods Inc.                                                      Shin TO’ Norpac Foods Inc
              Attn: Jim Gill                                                                ' 6175 Aviation Way
              930 W. Washington                                                               Silverton OR 97381
              Stayton OR 97383                                                                UNITED STATES
              UNITED STATES
          Gust No, 100794                                                                Gust No.         101427
          VAT No.

 Incoterms        EXW NAMPA                                     Cost. Service        Karen Underwood
 Gross Weight     39517.24                                      Phone
 Net Weight       37597.76                                      Salesperson          Metzger, Kurt
 Packages         2104                                          Phone                503 930-4619
                                                                Currency             USD
 Delivery Inst.        TRK - SHP 2 LOADS EARLY FEB                                   Payment             .5% / 30 Net 7/31
                       CALL 1 WK B4 SHIPPING                                         Payment Instrument: Checks/Cheques

                                                               Batch Lot
                                                                                 Quantity
                                                                                                    Net Weight           Total        Unit Price           Amount
      Item                        Description                                                           KG             Quantity
                                                               Prod Lot

  883100       Discount                                                              1.00 EA                                                 -959.5040           -959.50     N




  .5% discount as agreed upon.
                                                                                                                                      GOODS VALUE:            190941.30

  200010       Freight Charges                                                      1,00 EA                                                 1450.0000           1450.00      N




  200010       Freight Charges                                                      1.00 EA                                                 1450.0000           1450,00      N




             KG = Kilogram    KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit

            Our Bank Details                     These commodities, technology or software were exported from the United States in accordance with the Export
  Payment Remittance:                            Administration Regulations. Diversion Contrary to the United States Law Prohibited.
                                                 The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
  HM.CLAUSE, INC.                                Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn; Accounts Receivable

 Cust No.              100794
 Invoice No.           18202226                                                                                            TOTAL NET DUE                          193841.30
 Invoice Date:         01/31/19
 Due Date              07/31/19
                                                                                                      Amount to deduct if paid by 03/02/19                             959,50
 Amount                193841.30 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax. (530) 747-3794
IRS: XX-XXXXXXX                                                                                      No returns without authorization.                   Business Unit of    o
                                                                                                                                                         Limagrain


                                                                                                                                  Exhibit B, Page 7 of 38
                                      Case 19-62584-pcm11                          Doc 322              Filed 10/31/19
   HM 9 CLAUSE                                                                                                             INVOICE
                                                                                 Invoice No.          18203370                                               Date:        03/12/19
                                                                                                                                                             Page;             1/1



      Sold Tb' Norpac Foods Inc                                                         Shin To'      Norpac Foods Inc
             ' AUn: Jim Gill                                                               ^          6175 Aviation Way
               930 W, Washington                                                                      Silverton OR 97381
               Stayton OR 97383                                                                       UNITED STATES
               UNITED STATES

           Oust No. 100794                                                                  CustNo.         101427
           VAT No.
 Incoterms          EXW NAMPA                                      Cust. Service        Allison Lopez
 Gross Weight       19858.28                                       Phone
 Net Weight         8155.87                                        Salesperson          Metzger, Kurt
 Packages           21                                             Phone                503 930-4619
                                                                   Currency             USD
 Delivery Inst.       TRK - SHP 2 LOADS EARLY FEB                                       Payment             .6% / 30 Net 7/31
                      CALL 1 WK B4 SHIPPING                                             Payment Instrument; Checks/Cheques

                                                                                                                                                                                    T
       Item                        Description                    Batch Lot         Q,,antitv         Net Weight            Total        uni, p™              Amount              A
                                                                  Prod Lot          Quantity                               Quantity      Unit Price
                                                                                                                                                                                  X

  Order No,           910859 SO                 Customer PO No. ACE FY19                                       Mode of Tranaport: Truckload
  Delivery No,        1880953                   on 03/11/19       from                   NAM                   Carrier:

  264670        Bean OSU 5630 Pro                                  G75656           450.00 SP           8155,87           36000 KS             1.1400/KS          41040.00      N
                Treat. Bag 80 Ks HM NS 4B                          G75656
                Bean OSU 5630
  Bean OSU 6630                                                                                    Product Form: Raw Treatment: Agrls.Cap,Lore,Met,Ranc.Ttiir
  Germ: 85,0        Germ Date: 02/16/18        Phyto: 84465-18BG-S-FI          Seed Count: 2290           Purity: 99.94        Seed Size:
                                                                                                                                            GOODS VALUE:          41040.00




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit \NP - Weight Packaging Unit
             Our Bank Details                       These commodities, technology or software were exported from the United States In accordance with the Export
   Payment Remittance;                              Administration Regulations. Diversion Contrary to the United States Law Prohibited,
   HM.CLAUSE, INC.                                  The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
                                                    Conditions.
   280 Cousteau Place, bureau 210
   Davis, CA 95618
   Attn: Accounts Receivable
 Cust No.              100794
 Invoice No.           18203370                                                                                               TOTAL NET DUE                            41040.00
 Invoice Date:         03/12/19
 Due Date              07/31/19
                                                                                                         Amount to deduct if paid by 04/11/19                             205,20
 Amount                41040.00 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Devis, CA 95618 - Tel: (630) 747-3700 Fax: (530) 747-3794
IRS; XX-XXXXXXX
                                                                                                         No returns without authorization.                  (Business Unit of V
                                                                                                                                                            Llmagrain (Sii ■

                                                                                                                          Exhibit B, Page 8 of 38
                                          Case 19-62584-pcm11                           Doc 322              Filed 10/31/19
  HM« CLAUSE                                                                                                           INVOICE
                           (Mclause 1                                           Invoice No.        18203371                                           Date:       03/12/19
                                                                                                                                                      Page:            1/2




     Sold To' Norpac Foods Inc                                                       Shio To' Norpac Foods Inc
              Attn: Jim Gill                                                                  6175 Aviation Way
              930 W. Washington                                                               Sliverton OR 97381
              Slayton OR 97383                                                                UNITED STATES
              UNITED STATES
          Gust No. 100794                                                                 Gust No.       101427
          VAT No.

 Incoterms         EXW NAMPA                        Gust. Service                    Allison Lopez
 Gross Weight      0.00                             Phone
 Net Weight        11771.28                         Salesperson                      Metzger, Kurt
 Packages          0                                Phone                            503 930-4619
                                                    Currency                         USD
 Delivery Inst.       TRK-WILL BE SPLIT IN 2 SHPMNTS                                 Payment             .5% / 30 Net 7/31
                      MORE INFO BEG OF MARCH                                         Payment Instrument: Checks/Cheques

                                                                 Batch Lot                          Net Weight                                                              T
       Item                        Description                                    Quantity                             alanlity     ^nit Price         Amount               A
                                                                 Prod Lot                               KG                                                                  X

  Order No.           911807 SO                 Customer PO No.                                            Mode of Transport: Truckload
  Delivery No.        1880953                  on 03/11/19               from         NAM                  Carrier:

  231490        Bean CASSIDY Pro                                   G74687         357.00 SP          7033,10          35700 KS            1.6400/KS       58548,00      N
               Treat, Bag 100 Ks HM NS 4B                        PL183236
               Bean CASSIDY
 Bean CASSIDY                                                                                   Product Form: Raw Treatment: Agris,Cap,Lots,Met,Ranc.Thir
 Germ; 86.0         Germ Date: 02/15/19       Phylo; 62360-17BG-R-FI         Seed Count: 2303          Purity: 99,94    Seed Size:

  231490       Bean CASSIDY Pro                                    G74686          43.00 SP           798,07           4300 KS            1.6400/KS           7052.00 N
               Treat. Bag 100 Ks HM NS4B                         PL184859
               Bean CASSIDY
 Bean CASSIDY                                                                                   Product Form; Raw Treatment: Agris, Cap,Lors.Met,Ranc.Thir
 Germ: 90.0         Germ Date: 02/19/19       Phylo: P-17-0660         Seed Count: 2444         Purity: 99,95     Seed Size:

  231490        Bean CASSIDY Pro                                   G74687         200,00 SP         3940.11           20000 KS            1.6400/KS       32800,00      N
               Treat. Bag 100 KsHMNS4B                           PL183236
               Bean CASSIDY
  Beiin CASSIDY                                                                                 Product Form: Raw Treatment: Agris,Cap,Lors,Met,Ranc,Thir
 Geim: 86,0         Germ Date: 02/16/19       Pnyto; 62360-17BG-R-FI         Seed Count: 2303         Purity: 99.94        Seed Size:
                                                                                                                                        GOODS VALUE:         98400.00




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 280 Cousteau Place, Suite 210 Oavis, CA 95618 - Tel: (530) 747-3700 Fax: (630) 747-3794 260 Cousteau
Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (630) 747-3794                                                                            Business Unit ot "
IRS: 94-169523S
                                                                                                                                                      Limagrainlljy


                                                                                                                                  Exhibit B, Page 9 of 38
                                          Case 19-62584-pcm11                        Doc 322             Filed 10/31/19
  HM® CLAUSE                                                                                                          INVOICE
             [IHARRIS        ICLAUSE                                          Invoice No.          18203371                                               Date:        03/12/19
                                                                                                                                                          Page:             2/2




     Sold To;     Norpac Foods Inc                                                   Ship To:      Norpac Foods Inc
                  Attn: Jiiti Gill                                                                 6175 Aviation Way
                  930 W. Washington                                                                SllvBrton OR 97361
                  Slayton OR 97383                                                                 UNITED STATES
                  UNITED STATES
          Gust No. 100794                                                                Gust No.        101427
          VAT No.

 Incoterms         EXW NAMPA                          Gust. Service                  Allison Lopez
 Gross Weight      0.00                               Phone
 Net Weight        11771.28                           Salesperson                    Metzger, Kurt
 Packages          0                                  Phone                          503 930-4619
                                                      Currency                       USD
 Delivery Inst.         TRK-WILL BE SPLIT IN 2 SHPMNTS                               Payment             .5% / 30 Net 7/31
                        MORE INFO BEG OF MARCH                                       Payment Instrument: Checks/Cheques


      Item                       Description                   Batch Lot                           Net Weight           Totai
                                                               Prod Lot          Quantity              KG                             Unit Price           Amount
                                                                                                                       Quantity

  200010       Freight Charges                                                      1.00 EA                                                 1450.0000            1450.00     N




             KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
           Our Bank Details                      These commodities, technology or software were exported from the United Stales in accordance with the Export
  Payment Remittance:                            Administration Reguiations. Diversion Contrary to the United States Law Prohibited,
                                                 The terms and conditions set forth on the lace hereof and on the reverse side of this sheet constitute the sole Terms and
  HM.CLAUSE, INC.                                Conditions.
  260 Cousteau Place, bureau 210
  □ avis, CA9S618
  Attn; Accounts Receivable

 Cust No.           100794
 Invoice No.        18203371                                                                                              TOTAL NET DUE                             99850,00
 invoice Date:      03/12/19
 Due Date           07/31/19
                                                                                                      Amount to deduct if paid by 04/11/19                             492.00
 Amount             99850.00 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (530) 747-3794
IRS: XX-XXXXXXX                                                                                      No returns without authorization.                   Business Unit of;
                                                                                                                                                         Limagrain^'

                                                                                                                                 Exhibit B, Page 10 of 38
                                       Case 19-62584-pcm11                           Doc 322              Filed 10/31/19
  HM® CLAUSE                                                                                                            INVOICE
                HAH
               ioAftS      pfLAUSE                                              Invoice No.        18204118                                              Date:       04/04/19
                M.P.5                                                                                                                                    Page:            1/3




      Sold To' Norpac Foods Inc                                                      Shin To-       Norpac Foods Inc
               Attn; JiiD Gill                                                                      6175 Aviation Way
               930 W, Washington                                                                    Silverton OR 97381
               Stayton OR 97383                                                                     UNITED STATES
               UNITED STATES
          CustNo. 100794                                                                 CustNo,         101427
          VAT No.
 incoterms          EXW NAMPA                         Cust, Service                  Allison Lopez
 Gross Weight       19273.01                          Phone
 Net Weight         14246.69                          Salesperson                    Metzger, Kurt
 Packages           1135                              Phone                          503 930-4619
                                                      Currency                       USD
 Deliverv Inst.         TRK-WILL BE SPLIT IN 2 SHPMNTS                               Payment             .5% / 30 Net 7/31
                        MORE INFO BEG OF MARCH                                       Payment Instrument: Checks/Cheques

                                                                 Batch Lot                                                                                                       T
       Item                        Description                                    Quantity          Net Weight          olantlty      ^nit Price          Amount                 A
                                                                 Prod Lot                                                                                                        X

  Order No.             911807 SO               Customer PO No.                                             Mode of Transport: Truckload
  Delivery No.          1900849                on 04/03/19               from         NAM                   Carrier:

  866897         Bean PIKE Pro                                     G75430         250,00 SP          4574.57           25000 KS              1.6400/KS       41000,00 N
                 Untr. Bag lOOKsHM NS                             PL183490
                 Bean PIKE
  Bean PIKE                                                                                     Product Form: Raw Treatment: No Treatment
  Germ: 90.0        Germ Dale; 02/22/19        Ptiyto: 62401-17BG-R-FI       Seed Count: 2479          Purity: 99.99         Seed Size:

  263852         Com DRIVER SH2 Pro                                G74647         320.00 SP         4591.76            32000 KS              4.0100/KS      128320.00 N
                 Treat. Bag 100 KsHMS4P                            G74647
                 Sweet com DRIVER FI
  Sweet corn DRIVER F1                                                                          Product Form; Raw      Treatment; Red/Me,Cap,Th,Dil,Car,Ran,lore
  Germ: 90,0        Germ Date: D2/2B/19       Phylo: 83368-18CO-R-FI         Seed Count: 3161          Purity: 99,99         Seed Size:

  263852         Corn DRIVER SH2 Pro                               G74648          74.00 SP          1280.72            7400 KS              4.0100/KS       29674,00 N
                Treat. Bag 100 Ks HM S 4P                          G74648
                Sweet corn DRIVER FI
  Sweet corn DRIVER F1                                                                          Product Form: Raw      Treatment; Red/Me,Cap,Th,Dif,Car,Ran,lore
  Geim: 90.0        Germ Dale: 03/01/19       Phylo: 83405-18CO-R-FI         Seed Count: 2621         Purity: 99.99          Seed Size: LR

  263852        Corn DRIVER SH2 Pro                                G74645           6.00 SP            87,68            600 KS               4.0100/KS        2406.00 N
                Treat. Bag 100 Ks HM S 4P                          G74645
                Sweet corn DRIVER F1
  Sweet corn DRIVER FI                                                                          Product Form: Raw Treatment; Red/Me,Cap,Th,Dif,Car,Ran,lors
 Germ: 90.0         Germ Dale: 02/28/19       Phyto; 83405-18CO-R-FI         Seed Count: 3104         Purity: 99.99          Seed Size;

  263857        Corn PISTON SH2 Pro                                G73000          25.00 SP           251,89           2500 KS               4.2200/KS       10550.00        N
                Treat. Bag 100 Ks HMS4P                          PL20543B
                Sweet com PISTON SH2
 Sweet corn PISTON SH2                                                                          Product Form: Raw Treatment: Red/Me,Cap,Th,Dif,Car,Ran,lors
 Germ: 95.0         Germ Dale: 02/19/19       Phyto: 83365-18CO-R-FI         Seed Count: 4502         Purity: 99.99         Seed Size: MF

  263854        Corn PLACER SH2 Pro                                G75631          33.00 SP          424.87            3300 KS               4,2300/KS       13959,00 N
                Treat. Bag 100 Ks HM S 4P                          G75631
                Sweet Corn PLACER FI
               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 9561B - Tel; (630) 747-3700 Fax: (630) 747-3794 260 Cousteau                                     Business linit of
Place, Suite210 Davis, CA95618-Tel: (530) 747-3700 Fax:(530)747-3794
IRS: XX-XXXXXXX                                                                                                                                          Limagrain 0li'



                                                                                                                                  Exhibit B, Page 11 of 38

                                          Case 19-62584-pcm11                       Doc 322             Filed 10/31/19
   HM® CLAUSE                                                                                                               INVOICE
               Harris          rCLAUSE
               WP.RftN                                                           Invoice No.          18204118                                                Date:      04/04/19
                                                                                                                                                              Page:           2/3



      Sold To' Norpac Foods Inc                                                        Shin To'        Norpac Foods Inc
                 ■ Attn: Jim Gill                                                         ^   '        6175 Aviation
                   930 W. Washington                                                                   Silverton OR 97381
                   Stayton OR 97383                                                                    UNITED STATES
                   UNITED STATES

           Oust No. 100794                                                                 Gust No.          101427
           VAT No.
 Incoterms          EXW NAMPA                          Gust. Service                   Allison Lopez
 Gross Weight       19273.01                           Phone
 Net Weight         14246.69                           Salesperson                     Metzger, Kurt
 Packages           1135                               Phone                           503 930-4619
                                                       Currency                        USD
  Delivery Inst.         TRK-WILL BE SPLIT IN 2 SHPMNTS                                Payment             .5% / 30 Net 7/31
                         MORE INFO BEG OF MARCH                                        Payment Instrument: Checks/Cheques

                                                                  Batch Lot                            Net Weight                                                                    T
       item                        Description                                     Quantity                                  Quantity                                                A
                                                                  Prod Lot                                 KG                                                                        X
  Sweet Com PLACER Ft                                                                              Product Form; Raw        Treatment: Red/Me,Cap.Th.DIf.Car, Ran,lors
  Germ: 94,0        Germ Date: 03/06/19        Phyto: B3389-18CO-R-FI           Seed Count: 3523           Purify: 99.99          Seed Size:

   263854        Com PLACER SH2 Pro                                G75632            27.00 SP             338,35            2700 KS             4.2300/KS          11421.00      N
                 Treat. Bag 100KsHMS4P                            PL216461
                 Sweet Corn PLACER F1
  Swuet Corn PLACER FI                                                                            Product Form: Raw Treatment: Red/Me,Cap,Th.Dif,Car,Ran,tors
  Germ: 90,0        Germ Dale: 03/11/19        Phyto:        Seed Count: 3620          Purity; 98.90       Seed Size: MF

  895635         Corn PUCER SH2 Pro                                G73498           100,00 SP           1831.50            10000 KS             4.2000/KS         42000.00       N
                 Untr. Bag 100 Ks HM S                            PL206619
                 Sweet Corn PLACER F1
  SweetCorn PLACER Ft                                                                              Product Form: Raw       Treatment: No Treatment
  Germ: 93.0        Germ Date: 02/19/19        Phyto: P-18-0705         Seed Count: 2477           Purity: 99,99           Seed Size: LR

  263852         Corn DRIVER SH2 Pro                               G74648            50.00 SP            865.35             5000 KS             4.0100/KS         20050.00       N
                 Treat. Bag 100 Ks HMS4P                           G74648
                 Sweet corn DRIVER FI
  Sweet corn DRIVER FI                                                                             Product Form: Raw Treatment: Red/Me,Cap,Th.Dif,Car,Ran,lors
  Germ: 90.0        Germ Date: 03/01/19       Phyto: 83405-18CO-R-FI          Seed Count: 2621            Purity: 99.99    Seed Size: LR
                                                                                                                                           GOODS VALUE:          299380,00




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Vt/eight Packaging Unit
HM,CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel; (530) 747-3700 Fax: (530) 747-3794 260 Cousteau
Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (530) 747-3794                                                                                   .Business Unit ol
IRS; XX-XXXXXXX
                                                                                                                                                              Limagrain


                                                                                                                          Exhibits, Page 12 of 38
                                          Case 19-62584-pcm11                          Doc 322                Filed 10/31/19
   HMi^ CLAUSE                                                                                                         INVOICE
               Sg          fif-LAUSE                                           Invoice No.          18204118                                                Date;       04/04/19
                                                                                                                                                            Page:            3/3



      Sold To’ Norpac Foods Inc                                                       Shio To’ Norpac Foods Ino
               Attn: Jim Gill                                                           ^      6175 Aviation Way
               930 W, Washington                                                               Silverton OR 97381
               Slayton OR 97383                                                                UNITED STATES
               UNITED STATES
          Gust No, 100794                                                                 Gust No.         101427
          VAT No.

  Incoterms        EXW NAMPA                        Oust. Service                     Allison Lopez
  Gross Weight     19273.01                         Phone
  Net Weight       14246.69                         Salesperson                       Metzger, Kurt
  Packages         1135                             Phone                             503 930-4619
                                                    Currency                          USD
  Delivery Inst.      TRK-WILL BE SPLIT IN 2 SHPMNTS                                  Payment             .5% / 30 Net 7/31
                      MORE INFO BEG OF MARCH                                          Payment Instrument; Checks/Cheques


       Item                                                    Batch Lot          Quantity                              Jotal^_              p
                                  Description
                                                               Prod Lot                                                 Quantity

   200010       Freight Charges                                                      1.00 EA                                                 1260.0000           1250.00 N




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
            Our Bank Details                     These commodities, technology or software were exported from the United States in accordance with the Export
  Payment Remittance;                            Administration Regulations. Diversion Contrary to the United Slates Law Prohibited,
                                                 The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms end
  HM.CLAUSE, INC.                                Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn: Accounts Receivable

 Cust No.             100794
 Invoice No.          18204118                                                                                             TOTAL NET DUE                          300630.00
 Invoice Date:       04/04/19
 Due Date            07/31/19
                                                                                                    Amount to deduct if paid by 05/04/19                             1,496,91
 Amount              300630.00 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 85018 - Tel; (530) 7A7-3700 Fax: (530) 747-3794
IRS: XX-XXXXXXX                                                                                      No returns without authorization.                   Business Uni t of

                                                                                                                                                         Limagrain O’


                                                                                                                                  Exhibit B, Page 13 of 38
                                      Case 19-62584-pcm11                           Doc 322              Filed 10/31/19
  HM® CLAUSE                                                                                                               INVOICE
              HA-RRI        pcLAUSE                                              invoice No.          18204119                                               Date;        04/04/19
                                                                                                                                                             Page:              1/1



      Sold TO' Norpac Foods Inc                                                         Shin To' Norpac Foods Inc
               Attn: Jim Gill                                                           oMip lo.    75 Aviation Way
               930 W, Washington                                                                 Silverton ORI I97381
               Slayton OR 97383                                                                  UNITED STATES
               UNITED STATES

          CustNo. 100794                                                                    CustNo.         101427
          VAT No.

 Incoterms           EXW NAMPA                                     Cust. Service        Allison Lopez
 Gross Weight        19273.01                                      Phone
 Net Weight          4531.04                                       Salesperson          Metzger, Kurt
 Packages            1135                                          Phone                503 930-4619
                                                                   Currency             USD
 Delivery Inst.        TRK - SHP 2 LOADS EARLY FEB                                      Payment             .5% / 30 Net 7/31
                       CALL 1 WK B4 SHIPPING                                            Payment Instrument: Checks/Cheques

                                                                  Batch Lot         nuantitv           Net Weight           Total        iini, prirp                            T
       Item                          Description                  Prod Lot          quantity                               Quantity                           Amount            A
                                                                                                                                                                                X

  Order No.            910859 SO                Customer PO No. ACE FY19                                       Mode of Transport; Truckload
  Delivery No.         1900849                  on 04/03/19       from                   NAM                   Carrier:

  264670          Bean OSU 5630 Pro                                075656           250.00 SP           4531.04           20000 KS             1.1400/KS          22800.00      N
                  Treat. Bag 80 Ks HM NS 4B                        G75656
                  Bean OSU 5630
  Bean OSU 6630                                                                                    Product Form: Raw Treatment: Agrls,Cap,tors,Mel,Rano.Thlr
  G6im:85,0          Germ Date: 04/02/19       Phylo: 84465-18BG-S-FI          Seed Count: 2290           Purity: 99,94        Seed Size:
                                                                                                                                            GOODS VALUE:          22800.00




 ________ KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
                  Our Bank Details                  These commodities, technology or software were exported from the United States In accordance with the Export
  Payment Remittance:                               Admlnlslraflon Regulations. Diversion Contrary to the United Slates Law Prohibited.
  HM.CLAUSE, INC.                                   The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
                                                    Conditions.
  2(>0 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn: Accounts Receivable

 Cust No.              100794
 Invoice No.           18204119                                                                                               TOTAL NET DUE                            22800,00
 Invoice Date:         04/04/19
 Due Date              07/31/19
                                                                                                         Amount to deduct if paid by 05/04/19                              114.00
 Amount                22800,00 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 96618 - Tel: (530) 747-3700 Fax: (630) 747-3794
IRS; XX-XXXXXXX                                                                                          No returns without authorization.                  Business Unit of
                                                                                                                                                            Limagrain O'


                                                                                                                         Exhibit B, Page 14 of 38
                                           Case 19-62584-pcm11                           Doc 322             Filed 10/31/19
  HM® CLAUSE                                                                                                               INVOICE
               HARRIS          ^CLAUSE                                            Invoice No.         18204S73                                               Date;        04/25/19
               Mp.w.ri                                                                                                                                       Page:             1/1



     Sold To' Norpac Foods Inc                                                          Shin Tfi'     Agri-Northwest-Shop #7
                                                                                        amp lu.       7^4,5 Pole Line Rd
              Attn: Jim Gill
              930 W. Washington                                                                       BoardmanOR 97818
              Stayton OR 97383                                                                        UNITED STATES
              UNITED STATES

          Gust No. 100794                                                                   Gust No.         101427
          VAT No.
 In coterms  EXW NAMPA                                             Gust. Service        Allison Lopez
 Gross Weight 3720.66                                              Phone
 Net Weight   3497.36                                              Salesperson          Metzger, Kurt
 Packages    240                                                   Phone                503 930-4619
                                                                   Currency             USD
 Delivery Inst.          TRU-drlver call 24 hr prior to                                 Payment             .5% / 30 Net 7/31
                         □ELY-JOSE 509-820-3132                                         Payment Instrument: Checks/Cheques

                                                                                                                                                                                    T
                                                                  Batch Lot                            Net Weight          Totai         Unit Price           Amount
      Item                          Description                                     Quantity                                                                                        a
                                                                  Prod Lot                                 KG             Quantity                                                  X

  Older No.              929975 SO             Customer PO No.                                                  Mode of Transport: Less than Truckload
  Delivery No.           1914385               on 04/24/19                 from          NAM                   Carrier:

  263852          Corn DRIVER SH2 Pro                              G74646           211.00 SP           2995.46           21100 KS             4.0100/KS          84611.00 N
                  Treat. Bag 100 Ks HM S 4P                        G74646
                  Sweet com DRIVER F1
 Swaeteorn DRIVER F1                                                                               Product Form: Raw Treatment: Red/Me,Cap,Th.Dif,Car,Ran,lors
 Gsi m: 82.0         Germ Date; 02/28/19      Phyto: 83429-18CO-R-FI           Seed Count: 3195           Purity: 88.99        Seed SIse:

  263852          Corn DRIVER SH2 Pro                              G74648             29.00 SP           501.90            2900 KS             4.0100/KS          11629,00      N
                  Treat. Bag 100 Ks HM S 4P                        G74648
                  Sweet corn DRIVER F1
 Sweet corn DRIVER FI                                                                             Product Form: Raw Treatment: Red/Me,Cap,Th,Dir,Car,Ran,lors
 Germ: 90.0          Germ Date: 03/01/19      Ptiyto: 83406-18CO-R-F1          Seed Count: 2621           Purity: 99.99        Seed Size: LR
                                                                                                                                            GOODS VALUE:          96240.00

  200010          Freight Charges                                                      1.00 EA                                    1             658.9800             656.98     N




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
            Our Bank Details                        These commodities, technology or software were exported from the United States in accordance with the Export
                                                    Administration Regulations. Diversion Contrary to the United States Law Prohibited.
  Payment Remittance:                               The terms and conditions sat forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
  HM.CLAUSE, INC.                                   Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn: Accounts Receivable
 Cust No.                100794
 Invoice No.             18204573                                                                                             TOTAL NET DUE                            96896.98
 Invoice Date:           04/25/19
 Due Date                07/31/19
                                                                                                         Amount to deduct if paid by 05/25/19                             481.21
 Amount                  96896.98 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 96618 - Tel: (630) 747-3700 Fax: (530) 747-3794
IRS: XX-XXXXXXX                                                                                          No returns without authorization.                  Business Unit of T
                                                                                                                                                            LImagraIn


                                                                                                                                      Exhibit B, Page 15 of 38
                                           Case 19-62584-pcm11                          Doc 322             Filed 10/31/19
   HM®CLAUSE                                                                                                              INVOICE
               1HARRIS         Mclause 1                                         Invoice No.         18204574                                            Date:       04/25/19
               Jwp.aftM
                                                                                                                                                         Page:            1/2



      Sold TO' Norpac Foods Inc                                                        Ship To* Norpac Foods Inc
               Attn: Jim Gill                                                             ^   ■ 0/0 Traehouse Produce
               930 W. Washington                                                                Attn: Tom Shane
               Stayton OR 97383                                                                 18019 Bradshaw Rd
               UNITED STATES                                                                    Mt. Vernon WA 98273
                                                                                                UNITED STATES
           Gust No. 100794                                                                 Gust No.       101427
           VAT No.

 Incoterms           EXW NAMPA                                     Gust, Service       Allison Lopez
 Gross Weight        8828,27                                       Phone
 Net Weight          8414.39                                       Salesperson         Metzger, Kurt
 Packages            460                                           Phone               503 930-4619
                                                                   Currency            USD
 Delivery Inst.           TRU-driver call 24 hr prior to                               Payment             .5% / 30 Net 7/31
                          DELY-TOM 360-661-7894                                        Payment Instrument: Checks/Cheques


       Item                                                       Batch Lot                          Net Weight            Total
                                    Description
                                                                  Prod Lot
                                                                                   Quantity              KG               Quantity
                                                                                                                                        Unit Price        Amount

   Order No.          930496 SO                 Customer PO No,                                              Mode of Transporl: Less than Truckload
   Delivery No,       1914389                   on 04/24/19               from         NAM                   Carrier:

   866897        Bean PIKE Pro                                      G75430         250,00 SP          4574,57            25000 KS            1.6400/KS       41000.00 N
                 Untr. Bag 100 Ks HM NS                            PL183490
                 Bean PIKE
  Bean PIKE                                                                                       Product Form: Raw Treatment: No Treatment
  Geim: 90.0         Germ Date: 02/22/19       Phylo: 62401-17BG-R-FI          Seed Count: 2479         Purity: 99.99         Seed Size:

  866897         Bean PIKE Pro                                      G75429         200.00 SP          3656.98            20000 KS            1.6400/KS       32800,00     N
                 Untr. Bag 100 Ks HM NS                           PL183488
                 Bean PIKE
  Berm PIKE                                                                                       Product Form: Raw      Treatment: No Treatment
  Geim: 90.0         Germ Date: 02/21/19       Phyto; 78780-17BG-S-FS          Seed Count: 2481          Purity: 99.99         Seed Size:

  866897         Bean PIKE Pro                                      G75429           10,00 SP           182.85            1000 KS            1.6400/KS         1640.00    N
                 Untr. Bag 100 Ks HM NS                           PL1834B8
                 Bean PIKE
  Bean PIKE                                                                                       Product Form: Raw Treatment: No Treatment
  Geim: 90.0         Germ Date: 02/21/19       Phyto: 78780-17BG.S-FS          Seed Count: 2481           Purity: 99,99   Seed Size:
                                                                                                                                           GOODS VALUE:       75440,00




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
Hr^l.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95818 - Tel: (630) 747-3700 Fax: (530) 747-3704 260 Cousteau
Place, Suite210 Davis, CA 96818 -Tel; (530) 747-3700 Fax:(630)747-3794                                                                                   Business Unit of :
IRS; XX-XXXXXXX
                                                                                                                                                         Limagraln


                                                                                                                                    Exhibit B, Page 16 of 38
                                           Case 19-62584-pcm11                         Doc 322             Filed 10/31/19
  HM@ CLAUSE                                                                                                             INVOICE
                ARRia         ^CLAUSE                                             Invoice No.         18204574                                                Date:       04/26/19
             111'■ARRAN                                                                                                                                       Page;            2/2



     Sold TO’ Norpac Foods Inc                                                          Ship TO'      Norpac Foods Inc
              Attn: Jim Gill                                                                   '      do Treehouse Produce
              930 W. Washington                                                                       Attn: Tom Shane
              Stayton OR 97383                                                                        18019 Bradshaw Rd
              UNITED STATES                                                                           Mt. Vernon WA 98273
                                                                                                      UNITED STATES
          Gust No. 100794                                                                   Gust No.         101427
          VAT No,
 Incoterms          EXW NAMPA                                      Gust, Service        Allison Lopez
 Gross Weight       8828,27                                        Phone
 Net Weight         8414,39                                        Salesperson          Metzger, Kurt
 Packages           460                                            Phone                503 930-4619
                                                                   Currency             USD
 Delivery Inst.           TRU-driver call 24 hr prior to                                Payment             .5% / 30 Net 7/31
                          DELY-TOM 360-661-7894                                         Payment Instrument: Checks/Cheques

                                                                  Batch Lot         Quantity           Net Weight          Total         Unit Price            Amount
      Item                           Description                  Prod Lot                                 KG             Quantity

  200010        Freight Charges                                                         1.00 EA                                                1570.7400            1570.74     N




             KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
            Our Bank Details                        These commodities, technology or software were exported from the United Slates In accordance with the Export
  Payment Remittance:                               Administration Regulations, Diversion Contrary to the United Stales Law Prohibited,
                                                    The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
  HM.CLAUSE, INC.                                   Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn: Accounts Receivable
 Cust No.                 100794
 Invoice No.              18204574                                                                                            TOTAL NET DUE                            77010.74
 Invoice Date:            04/25/19
 Due Date                 07/31/19
                                                                                                         Amount to deduct if paid by 05/25/19                             377.20
 Amount                   77010,74 USD
HM.CLAUSE, INC. 280 Cousteau Place, Suite 210 Davis, CA 05618 - Tel: (630) 747-3700 Fax: (630) 747-3794
IRS; XX-XXXXXXX                                                                                      No      returns without authorization.                 Busiuess Unit of

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                                                                                                                                     Exhibit B, Page 17 of 38
                                          Case 19-62584-pcm11                           Doc 322              Filed 10/31/19
              I® CLAUSE                                                                                              INVOICE
                ARRIS         |CLAUSE                                           Invoice No.       18204617                                       Date;       04/26/19
               np.?AN
                                                                                                                                                 Page;            1/2




      Solfi Tn-'   Morpac Foods Inc
                   Attn: Jim Gill
                                                                                     Shin Td‘ Norpac Foods Inc
                                                                                        ^   ■ 6175 Aviation Way
                   930 W. Washington                                                          Siluerton OR 97381
                   Stayton OR 97383                                                           UNITED STATES
                   UNITED STATES
           Gust No, 100794                                                               Gust No.       101427
           VAT No.

 Incoterms          EXW MODESTO                                    Gust. Service     Allison Lopez
 Gross Weight       329.60                                         Phone
 Net Weight         225,34                                         Salesperson       Metzger, Kurt
 Packages           2                                              Phone             503 930-4619
                                                                   Currency          USD
 Delivery Inst,         GRD - CONTACT JIM BEFORE                                     Payment             .5% / 30 Net 7/31
                        SHIPMENT 503-932-0002                                        Payment Instrument; Checks/Cheques


       Item                                                       Batch Lot                                            qIS,,    UnltPrlc.                           ;
                                   Description                                    Quantity
                                                                  Prod Lot

  Order No.             920379 SO               Customer PO No.                                           Mode of Transport; Ground Service
  Delivery No.          1915781                 on 04/26/19              from          MOD                Carrier:

  221200        Caul ARTICA F1 Pro                         G86027        70,00 SP       204.08        7000 KS           12.9000/KS                   90300.00     N
                Plt.GC Pail 100 KsHMST                    PL177149
                Cauliflower ARTICA F1
  Cauliflower ARTICAF1                                                            Product Form: Gro-Coat Treatment: Thlram
  Germ: 93.0        Germ Date: 04/26/1S Phyto: 19AU00240B       Seed Count: 15568    Purity; 99,99      Seed Size:
  Provide UT

  867556        CaulARTICAFI Pro                                   G78577          46.00 SP           18.23        4600 KS          12.5000/KS       57500.00 N
                FIc. Foil 100 KsHMST                              PL169768
                Cauliflower ARTICA F1
  Cauliflower ARTICA F1                                                                       Product Form; Filmcoat Treatment: Thlram
  Germ: 94.0         Germ Date: 03/06/19      Phyto: 18AU007687          Seed Court: 114448       Purity: 99,99      Seed Size: 5
  Provide UT

  867556       Caul ARTICA FI Pro                                  062465           9,00 SP            3.03            900 KS       12.5000/KS       11250,00 N
               Flo. Foil 100 Ks HM S T                            PL169768
               Cauliflower ARTICA F1
 Cauliflower ARTICA FI                                                                        Product Form; Filmcoat Treatment: Thlram
 Germ: 92.0         Germ Date: 03/21/10       Phyto: 18AU007567          Seed Count; 134732       Purity: 99,99      Seed Size: 4.5
                                                                                                                                GOODS VALUE;        159050.00




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 9681B - Tel: (630) 747-3700 Fax: (530) 747-3794 280 Cousteau
Place, Suite 210 Davis, CA 96618 • Tel: (530) 747-3700 Fax: (530) 747-3794                                                                       Business Unit of ; .;
IRS: XX-XXXXXXX
                                                                                                                                                 Umagrain0|i'


                                                                                                                      Exhibit B, Page 18 of 38
                                          Case 19-62584-pcm11                         Doc 322            Filed 10/31/19
 HM® CLAUSE                                                                                                           INVOICE
             HARRIS         ^CLAUSE                                           Invoice No.         18204617                                                Date;        04y26/19
             MP.P.AN                                                                                                                                      Page:             2/2




    Sold Tc' Norpac Foods Inc                                                       Ship To:       Norpap Foods Inc
                 Attn: Jim Gill                                                                    6175 Aviation Way
                 930 W. Washington                                                                 Silverton OR 97381
                 Stayton OR 97383                                                                  UNITED STATES
                 UNITED STATES

         Gust No. 100794                                                                 Gust No.        101427

         VAT No.

Incoterms         EXW MODESTO                                  Dust. Service        Allison Lopez
Gross Weight      329.50                                       Phone
Net Weight        225.34                                       Salesperson           Metzger, Kurt
Packages          2                                            Phone                 503 930-4619
                                                               Currency              USD
Delivery Inst.         GRD - CONTACT JIM BEFORE                                      Payment             .5% / 30 Net 7/31
                       SHIPMENT 503-932-0002                                         Payment Instrument: Checks/Cheques

                                                              Batch Lot          Quantity
                                                                                                   Net Weight            Total        Unit Price           Amount
      Item                       Description                  Prod Lot                                 KG             Quantity

 200010        Freight Charges                                                      1.00 EA                                                  108.1300             108.13     N




             KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit

            Our Bank Details                     These oommodilles, technology or software were expoied from the United States In accordance with the Export
                                                 Administration Regulations, Diversion Contrary to the United States Law Prohibited.
  Payment Remittance:                            The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
  HM.CLAUSE, iNC.                                Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn; Accounts Receivable

 Oust No.              100794
 Invoice No.           18204617                                                                                            TOTAL NET DUE                           159158.13
 Invoice Datei         04/26/19
 Due Date              07/31/19
                                                                                                      Amount to deduct if paid by 05/26/19                             795,25
 Amount                159158.13 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 96618 - Tel: (630) 747-3700 Fax; (530) 747-3794
IRS: XX-XXXXXXX                                                                                      No returns without authorization,                   Business Unit of
                                                                                                                                                          Limagrain (S'


                                                                                                                                    Exhibit B, Page 19 of 38
                                      Case 19-62584-pcm11                            Doc 322              Filed 10/31/19
   HM® CLAUSE                                                                                                               INVOICE
    if Ipil^HARRtS             ICLAUSE
   I                                                                              Invoice No.          18204736                                               Date:
                                                                                                                                                              Page:
                                                                                                                                                                           05/02/19
                                                                                                                                                                                1/1



       Sold To' Norpac Foods Inc                                                        Ship To:
                Attn; Jim Gill
                930 W. Washington                                                                      Sedro Woolley WA 98284
                Stayton OR 97383                                                                       UNITED STATES
                UNITED STATES
           Gust No. 100794                                                                   Gust No.        101427
           VAT No.

  Incoterms   EXW NAMPA                                             Gust. Service       Allison Lopez
  Gross Weight 11516.70                                             Phone
  Net Weight   10970.93                                             Salesperson         Metzger, Kurt
  Packages    600                                                   Phone               503 930-4619
                                                                    Currency            USD
  Delivery Inst.       TRK-driver lo call Mike 24 hr                                    Payment             .5% / 30 Net 7/31
                       PRIOR TO DELY 360-708-2849                                       Payment Instrument; Checks/Cheques

       Item                        Description                    Batch Lot                            Net Weight            Total
                                                                  Prod Lot           Quantity                                            Unit Price            Amount
                                                                                                           KG               Quantity

   Order No.          931315 SO                 Customer PO No.                                                Mode of Transport: Truckload
   Delivery No.       1918244                   on 04/30/19                from           NAM                  Carrier:

   866897       Bean PIKE Pro                                       G75429           600.00 SP         10970.93            60000 KS            1.6400/KS          98400.00 N
                Untr. Bag 100 Ks HM NS                             PLie3488
                Bean PIKE
  Been PIKE                                                                                         Product Form: Raw Trealmsnt: No Treaimeni
  Geim:90.0         Germ Dale: 02/21/19        Phyto: 78780-17BG-S-FS            Seed Count: 2481          Purity: 98.99        Seed Size;
                                                                                                                                           GOODS VALUE:            98400.00
  200010        Freight Charges                                                         1.00 EA                                   1            1500.0000            1500.00 N




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
             Our Bank Details                       These commodities, teohnolooy or software were exported from the United States In accordance with the Export
   Payment Remittance;                              Administration Regulations, Diversion Contrary lo the United States Law Prohibited.
   HM.CLAUSE, INC.                                  The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
                                                    Conditions.
   260 Cousteau Place, bureau 210
   Davis, CA 95618
   Attn; Accounts Receivable

 CustNo.              100794
 Invoice No.          18204736                                                                                                 TOTAL NET DUE                           99900.00
 Invoice Date:        05/02/19
 Due Date             07/31/19
                                                                                                         Amount to deduct If paid by 06/01/19                             492.00
 Amount               99900.00 USD
HW.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (530) 747-3784
IRS; 94-169S235
                                                                                                         No returns without authorization.                  BusinessUnit of : '
                                                                                                                                                            linr»agrain(2?'


                                                                                                                          Exhibit B, Page 20 of 38
                                          Case 19-62584-pcm11                            Doc 322              Filed 10/31/19
  HM@ CLAUSE                                                                                                             INVOICE
               1HARRIS      ^?^LAUSE                                            Invoice No.         18204755                                             Date:      05/03/19
               Imp.rak                                                                                                                                   Page:           1/3




      Sold To' Norpac Foods Inc                                                      Shlo To' Norpao Foods Inc
               Attn: Jim Gill                                                                 6175 Aviation Way
               930 W. Washington                                                              Silverton OR 97381
               Slayton OR 97383                                                               UNITED STATES
               UNITED STATES
          Gust No, 100794                                                                  Gust No.        101427
          VAT No.
 Incoterms          EXW MODESTO                                   Oust. Service      Allison Lopez
 Gross Weight       99.32                                         Phone
 Net Weight         75.47                                         Salesperson        Metzger, Kurt
 Packages           7                                             Phone              503 930-4619
                                                                  Currency           USD
 Delivery Inst.          OVY                                                         Payment             .6% / 30 Net 7/31
                                                                                     Payment Instrument: Checks/Cheques

                                                                                                     Net Weight                                                                 T
       Item                        Description                    Slot                                   KG
                                                                                                                         claSIty        Unit Price        Amount                A
                                                                                                                                                                                X

  Order No.              931322 SO              Customer PO No,                                               Mode of Transport: Ground Service
  Delivery No.           1919167                on 05/02/19              from         MOD                     Carrier;

  824222         Squa TIGRESS F1 Pro                               G30282           2.00 SP              16,07            110 KS            47.1300/KS         5184,30 N
                 Flo, Pail 55 Ks HM NS T                          PL192276
                 Summer squash TIGRESS F1
  Summer squash TIGRESS F1                                                                       Product Form: Filmcoat Treatment: Thlram
  Germ: 99.0        Germ Date: 04/15/19        Phyto: 217000004067620         Seed Count: 3108           Purity: 99.99         Seed Size:

  824656         Squa GOLDEN ROD FI Pro                            G54542           3.00 SP              19.58            165 KS            44.3200/KS        7312.80       N
                 Flo. Pail 55 Ks HM NS T                          PL179439
                 Summer squash GOLDEN ROD FI
  Summer squash GOLDEN ROD FI                                                                    Product Form: Filmcoat Treatment; Thlram
  Germ: 96.0        Germ Date: 01/22/19       Phyto: 3617188001         Seed Count: 3823           Purity: 99.99         Seed Size:

  824656         Squa GOLDEN ROD FI Pro                            G54542           1,00 SP               6,53             55 KS            44.3200/KS        2437.60       N
                 FIc. Pail 55 Ks HM NS T                          PL179439
                 Summer squash GOLDEN ROD FI
  Summer squash GOLDEN ROD FI                                                                    Product Form: Filmcoat Treatment: Thlram
  Germ: 98.0        Germ Date: 01/22/19       Phyto: 3617188001         Seed Count: 3823           Purity: 99.99         Seed Size:

  824656         Squa GOLDEN ROD FI Pro                           G37188            1.00 SP               7.01             55 KS            44.3200/KS        2437.60       N
                 FIc, Pail 55 Ks HM NS T                          PL192278
                 Summer squash GOLDEN ROD FI
  Summer squash GOLDEN ROD F1                                                                 Product Form: Filmcoat Treatment: Thlram
  Germ: 93.0      Germ Date: 12/08/18         Phyto: 217000004067520          Seed Count: 3559        Purity: 99.99     Seed Size:

  867694         Squa GOLDEN ROD FI Pro                            F18862          22.00 SP               7.28             66 KS            44.3200/KS        2925.12       N
                 Flo, Foil 3 Ks HM NS T                           PL132610
                 Summer squash GOLDEN ROD FI
 Summer squash GOLDEN ROD F1                                                                     Product Form: Filmcoat Treatment: Thiram
 Germ: 94.0         Germ Data; 11/15/18       Phyto: 620000214002284          Seed Count: 4112           Purity: 09.99        Seed Size;

  867694         Squa GOLDEN ROD FI Pro                            G36124          11.00SP                3,64            33 KS             44.3200/KS        1462,56       N
                 FIc, Foil 3 Ks HM NS T                           PL132610
                 Summer squash GOLDEN ROD F1

               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (630) 747-3700 Fax: (530) 747-3794 260 Cousteau
Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax:(530) 747-3794                                                                                Business Unit ot       i
IRS: XX-XXXXXXX                                                                                                                                          Limagrain


                                                                                                                                      Exhibit B, Page 21 of 38

                                          Case 19-62584-pcm11                       Doc 322               Filed 10/31/19
   HM® CLAUSE                                                                                                           INVOICE
   1    uMIHARRIS             iCLAUSE                                          Invoice No.          18204755                                              Date:        05/03/19
                                                                                                                                                          Page;             2/3



       Sold To' Norpac Foods Inc                                                     Ship To' Norpac Foods Inc
                Attn; Jim Gill                                                          ^   ■ 6176 Aviation Way
                930 W, Washington                                                             Silverton OR 97381
                Stayton OR 97383                                                              UNITED STATES
                UNITED STATES
          CustNo. 100794                                                                   CustNo.        101427
          VAT No.

 Incotorma          EXW MODESTO                                   Oust. Service      Allison Lopez
 Gross Weight       99.32                                         Phone
 Net Weight         75.47                                         Salesperson        Metzger, Kurt
 Packages           7                                             Phone              503 930-4619
                                                                  Currency           USD
 Delivery Inst.       OVY                                                            Payment             .5% / 30 Net 7/31
                                                                                     Payment Instrument; Checks/Cheques

                                                                  Batch Lot                                                                                                      T
       Item                        Description                                                                                                             Amount                A
                                                                  Prod Lot                                                                                                       X
  Summer squash GOLDEN ROD F1                                                                    Product Form: FIlmcoat   Treatment: Thlram
  Germ: 93.0        Germ Date: 04/09/19       Phyto: 620000214002264          Seed Count: 4112          Purity: 99,09        Seed Size:

  867694         Squa GOLDEN ROD FI Pro                            G54546           5.00 SP               1.67            15KS            44,3200/KS              664,80 N
                 Fic. Foil 3 Ks HM NS T                           PL132609
                 Summer squash GOLDEN ROD FI
  Summer squash GOLDEN ROD F1                                                                    Product Form: Filmcoat Trealmenl: Thiram
  Germ: 96.0        Germ Date: 02707/19       Phyto: 620000214002284          Seed Count: 4076           Purity: 99.90     Seed Size:

  867694         Squa GOLDEN ROD FI Pro                            G64398          17.00 SP              6.05             51 KS           44 3200/KS            2260.32      N
                 Fic. Foil 3 Ks HM NS T                           PL179439
                 Summer squash GOLDEN ROD FI
  Summer squash GOLDEN ROD FI                                                                    Product Form: Filmcoat Treatment: Thiram
  Germ: 96.0        Germ Date: 12/27/18       Phyto: 3617188001         Seed Count: 3823           Purity: 99,99      Seed Size:

  867694         Squa GOLDEN ROD F1 Pro                            G49151          15.00 SP              6.15             45 KS           44.3200/KS            1994,40      N
                 Fic, Foil 3 Ks HM NS T                           PL179406
                 Summer squash GOLDEN ROD F1
  Summer squash GOLDEN ROD F1                                                                    Product Form: Filmcoat Treatment: Thiram
  Germ: 94.0      Germ Date: 02/14/19         Phyto: 217000004067520          Seed Count: 3320           Purity; 90.90     Seed Size:

  222474        Squa GOLDEN ROD FI Pro                             G55539           4.00 SP              1,50             12 KS           44.3200/KS             531.84      N
                Treat, Foil 3 Ks HM NS T                          PL159061
                Summer squash GOLDEN ROD F1
 Sutumer squash GOLDEN ROD F1                                                                    Product Form: Raw Treatment: Thiratn
 Germ; 99.0         Germ Date: 04/02/19       Phyto: 216000000476427          Seed Count: 3619           Purity: 99.96   Seed Size:
                                                                                                                                      GOODS VALUE;             27211.34
  200010        Freight Charges                                                     1.00 EA                                   1               237.0700           237,07 N




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis. CA 95618 ■ Tel: (530) 747-3700 Fax: (530) 747-37S4 260 Cousteau
Place, Suite 210 Davis, CA95618-Tel: (530) 747-3700 Fax:(530)747-3794                                                                                    : BiisinessiUiiitof ;
IRS; XX-XXXXXXX
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                                                                                                                                  Exhibit B, Page 22 of 38
                                          Case 19-62584-pcm11                         Doc 322              Filed 10/31/19
  HM®CLAUSE                                                                                                              INVOICE
              |haf              iCLAUSE                                          Invoice No.          1820475S                                                Date:       OS/03/19
  I           iMP.i
                 P.S.AM
                                                                                                                                                              Page;            3/3



      Sold To' Norpac Foods Inc                                                         Shin To'       Norpac Foods Inc
               Attn: Jim GUI                                                                   '       6175 Aviation Way
               930 W. Washington                                                                       Silverton OR 97381
               Slayton OR 97383                                                                        UNITED STATES
               UNITED STATES

          CustNo. 100794                                                                    CustNo.          101427
          VAT No.
 Incotsrms           EXW MODESTO                                   Gust. Service        Allison Lopez
 Gross Weight        99.32                                         Phone
 Net Weight          75.47                                         Salesperson          Metzger, Kurt
 Packages            7                                             Phone                503 930-4619
                                                                   Currency             USD
 Delivery Inst,           OVY                                                           Payment             .5% / 30 Net 7/31
                                                                                        Payment Instrument: Checks/Cheques

                                    Description                   Batch Lot         Quantity           Netttoight         ^Totaj^^       Unit Price           Amount
       Item                                                       Prod Lot                                                Quantity

  200010          Freight Charges                                                       1,00 EA                                                 288,6100              288.61 N




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
            Our Bank Details                        These commodities, technology or software were exported from the United States in accordance with the Export
  Payment Remittance:                               Administration Regulations, Diversion Contrary to the United States Law Prohibited.
                                                    The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
  HM.CLAUSE, INC.                                   Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn; Accounts Receivable
 Cust No.                 100794
 Invoice No.              18204755                                                                                            TOTAL NET DUE                            27737.02
 Invoice Date:            05/03/19
 Due Date                 07/31/19
                                                                                                         Amount to deduct if paid by 06/02/19                             136.05
 Amount                   27737,02 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (530) 747-3794
IRS: 94.1696236                                                                                          No returns without authorization.                  Business Unit ol
                                                                                                                                                            Limagrelin

                                                                                                                                     Exhibit B, Page 23 of 38
                                         Case 19-62584-pcm11                           Doc 322              Filed 10/31/19
   HM@ CLAUSE                                                                                                                INVOICE
                              ^CLAUSE
                              ^ 11< tTt I tl III»(
                                                                                      Invoice No.         18204771                                            Date:      05/06/19
                                                                                                                                                              Page:           1/2



      Sold To' Norpac Foods Inc                                                           ShiD To' Norpac Foods Inc
             ■ AUn: JItn Gill                                                             vjiiiH iw. 6175 Aviation Way
               930 W. Washington                                                                     Silverlon OR 97381
               Stayton OR 97383                                                                      UNITED STATES
               UNITED STATES
           Gust No. 100794                                                                    Gust No.        101427
           VAT No.

 Incoterms          EXW NAMPA                                           Oust. Service     Allison Lopez
 Gross Weight       19856.40                                            Phone
 Net Weight         20355.62                                            Salesperson       Metzger, Kurt
 Packages           1200                                                Phone             503 930-4619
                                                                        Currency          USD
 Delivery Inst.       TRK - SHP 2 LOADS EARLY FEB                                         Payment             .5% / 30 Net 7/31
                      CALL1 WKB4 SHIPPING                                                 Payment Instrument: Checks/Cheques

                                                                       Batch Lot                          Net Weight                                                               T
       Item                         Description
                                                                       Prod Lot
                                                                                       Quantity
                                                                                                              KG             olaSty                                                A
                                                                                                                                                                                   X

  Order No.           910859 SO                       Customer PO No. ACE FY19                                   Mode of Transport: Truckload
  Delivery No.        1919969                         on 05/03/19              from        NAM                   Carrier:

  264670         Bean OSU 5630 Pro                                      G75656         700.00 SP          12686,91          56000 KS             1.1400/KS        63840,00     N
                 Treat. Bag 80 Ks HM NS 4B                              G75658
                 Bean OSU 5630
  Bean OSU 5830                                                                                       Product Farm; Raw‘ Treatment; Agrl6,Cap,Lors,Met,Ranc,Thir
  Germ: 85,0        Germ Date: 04/02/19              Phyla: 84465-18BG-S-FI        Seed Count: 2290         Purity: 99,94         Seed Size:

  264670         Bean OSU 5630 Pro                                      G73758         300.00 SP           4601.23          24000 KS            1.1400/KS         27360.00     N
                 Treat. Bag 80 Ks HM NS4B                              PL205140
                 Bean OSU 5630
  Bean OSU 5630                                                                                       Preducl Farm: Raw     Treatment: Agria,Cap,Lars,Mel,Rano,Thir
  Germ: 90.0        Germ Date: 02/06/19              Phyto:        Seed Gaunt: 2366       Purity: 99,99        Seed Size:

  264670         Bean OSU 5630 Pro                                      G73758         200.00 SP           3067.48          16000 KS            1.1400/KS         18240,00     N
                 Treat. Bag 80 Ks HM NS 4B                             PL205140
                 Bean OSU 5630
  Bean OSU S630                                                                                       Preduot Faim; Raw     Treatment: Agria,Cap,Lars,Met,Rano.Thir
  Germ: 90.0        Germ Date: 02/06/19              Phyla:        Seed Count; 2366       Purity; 99.99        Seed Size:
                                                                                                                                           GOODS VALUE;           109440,00




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 260 Obusleau Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (530) 747-3794 260 Cousteau
Place, Suile 210 Davis, CA 95816 - Tel: (530) 747-3700 Fax: (530) 747-3794                                                                                    Business Unit of : ;
IRS: XX-XXXXXXX
                                                                                                                                                              Limagrain

                                                                                                                                        Exhibit B, Page 24 of 38
                                             Case 19-62584-pcm11                           Doc 322              Filed 10/31/19
   HM® CLAUSE                                                                                                          INVOICE

   I         ilHARRIS        ICLAUSE                                           Invoice No.          18204771                                               Date;
                                                                                                                                                           Page;
                                                                                                                                                                        05/06/19
                                                                                                                                                                             2/2



      Sold To’ Norpao Foods Inc                                                      Ship To:       Norpac Foods Inc
               Attn: Jim Gill                                                                       6175 Aviation Way
               930 W. Washington                                                                    Siiverton OR 97381
               Stayton OR 97383                                                                     UNITED STATES
               UNITED STATES
          Gust No. 100794                                                                 Gust No.        101427
          VAT No.

 Incoterms         EXW NAMPA                                     Cost. Service       Allison Lopez
 Gross Weight      19856.40                                      Phone
 Net Weight        20355.62                                      Salesperson         Metzger, Kurt
 Packages          1200                                          Phone               503 930-4619
                                                                 Currency            USD
 Delivery Inst,         TRK - SHP 2 LOADS EARLY FEB                                  Payment            .5% / 30 Net 7/31
                        CALL1 WKB4 SHIPPING                                          Payment Instrument;Checks/Cheques


      Item                       Description                   Batch Lot         Quantity           Net Weight          Total
                                                               Prod Lot                                 KG             Quantity       Unit Price            Amount


  200010       Freight Charges                                                       1.00 EA                                                1250,0000            1250.00 N




             KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit

            Our Bank Details                     These commodities, technology or software were exported from the United Stales In accordance with the Export
  Payment Remittance;                            Administration Regulations. Diversion Contrary to the United States Law Prohibited.
                                                 The terms and conditions set forth on (he face hereof and on the reverse side of this sheet oonslltute the sole Terms and
  HM.CLAUSE, INC.                                Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn: Accounts Receivable

 Cust No.               100794
 Invoice No.            18204771                                                                                           TOTAL NET DUE                           110690.00
 Invoice Date:          05/06/19
 Due Date               07/31/19
                                                                                                      Amount to deduct if paid by 06/05/19                             547,20
 Amount                 110690.00 USD
HM.CLAUSE, INC. 260 Cousteau Place, Sulla 210 Davis, CA 05618 - Tel; (530) 747-3700 Fax: (630) 747-3704
IRS: S4-169623S                                                                                      No returns without authorization.                  . Business Unit of
                                                                                                                                                         Limagrain (S'


                                                                                                                                    Exhibit B, Page 25 of 38

                                      Case 19-62584-pcm11                            Doc 322              Filed 10/31/19
   HM@ CLAUSE                                                                                                             INVOICE
        IFESflHA'”’'®       #^Cl.AUSE 1                                           Invoice No.          18204776                                               Date;        05/06/19
                                                                                                                                                              Page:             1/1



       Sold To' Norpac Foods Inc                                                         Shio To'      Norpac Foods Inc
                Attn: Jim Gill                                                              ^   '      6176 Aviation Way
                930 W. Washington                                                                      Silverton OR 97381
                Stayton OR 97383                                                                       UNITED STATES
                UNITED STATES

           Gust No. 100794                                                                   Gust No.        101427
           VAT No.

  Incoterms          EXW MODESTO                                    Cust. Service       Allison Lopez
  Gross Weight       134                                            Phone
  Net Weight         1.07                                           Salesperson         Metzger, Kurt
  Packages           1                                              Phone               503 930-4619
                                                                    Currency            USD
  Delivery Inst.         GRD                                                            Payment             .5% / 30 Net 7/31
                                                                                        Payment Instrument: Checks/Cheques

                                                                                    «-ntity            Net Weight                                                                   T
       Item                         Description                                                                                                                                     A
                                                                                                                                                                                    X

   Order No.           931726 SO                Customer PO No.                                                Mode of Transport: Ground Service
   Delivery No.        1920988                  on 05/06/19                from           MOD                  Carrier:

   867556         Caul ARTICA FI Pro                                G84160             3.00 SP              1.07           300 KS             12.5000/KS            3760.00     N
                  FIc. Foil lOOKsHMST                              PL177149
                  Cauliflower ARTICA FI
  Cauiinowar ARTICA FI                                                                             Product Form: Filmcoat Treatment: Ttilram
  Germ: 95.0         Germ Date: 04/09/19       Phyto: 19AU002406           Seed Count: 126782          Purity: 99.99      Seed Size: S
                                                                                                                                                                    3750.00             GOODS
  200010          Freight Charges                                                      1.00 EA                                    1               10.8800              10.88    N




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
             Our Bank Details                       These commodities, technology or software were exported from the United Stales In accordance with the exoort
   Payment Remittance:                              Administration Regulations. Diversion Contraiy to the United Stales Law Prohibited.
   HM.CLAUSE, INC.                                  The terns and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
                                                    Conditions.
   260 Cousteau Place, bureau 210
   Davis, CA 95618
   Attn; Accounts Receivable
 Cust No.              100794
 Invoice No.           18204776                                                                                               TOTAL NET DUE                              3760.88
 Invoice Date;         05/06/19
 Due Date              07/31/19
 Amount                                                                                                    Amount to deduct if paid by 06/05/19                             18.75
                       3760,88 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (630) 747-3700 Fax: (630) 747-3794
IRS. XX-XXXXXXX                                                                                         ig^ fetums without authorization.                   Business Unit of
                                                                                                                                                            Limagrain©'


                                                                                                                                      Exhibit B, Page 26 of 38
                                           Case 19-62584-pcm11                           Doc 322              Filed 10/31/19
  HM®CLAUSE                                                                                                                   INVOICE
             [{HARRIS        ^CLAUSE                                                Invoice No.            18204867                                             Date;        05/10/19
                             /fiadidi »if*»
                                                                                                                                                                Page:             1/1



     Sold TO' Norpao Foods Inc                                                             Shin To'        Norpac Foods inc
              Attn; Jim Gill                                                                               6175 Aviation Wa'
              930 W. Washington                                                                            Silverton OR 97381
              Stayton OR 97383                                                                             UNITED STATES
              UNITED STATES

          Oust No. 100794                                                                      CustNo.         101427
          VAT No.
 Incoterms         EXW NAMPA                                          Oust. Service        Allison Lopez
 Gross Weight      20113.65                                           Phone
 Net Weight        20611.41                                           Salesperson          Metzger, Kurt
 Packages          1194                                               Phone                503 930-4619
                                                                      Currency             USD
 Delivery Inst.         TRK - SHP 2 LOADS EARLY FEB                                        Payment             .5% / 30 Net 7/31
                                                                                           Payment Instrument: Checks/Cheques

                                                                                                                                                                                       T
                                  Description                        Pm^dLoT           Quantity            Net Weight          Total       ijnit Prire           Amount                A
      Item                                                                                                     KG             Quantity                                                 X

  Order No.             910859 SO             Customer PO No. ACEFY19                                             Mode of Transport; Truckload
  Delivery No.          1923354               on 05/09/19       from                       NAM                    Carrier;

  264670       Bean OSU 5630 Pro                                      G75656           700.00 SP           12686.91          56000 KS             1.1400/KS          63840.00      N
               Treat. Bag 80 Ks HM NS 4B                              G75656
               Bean OSU 5630
 Bean OSU 5630                                                                                       Product Form: Raw Treatment: Agris.Cap.Lors.Met.Rano.Thlr
 Germ: 85.0        Germ Date: 04/02/19        Ptiyto: 84465-18BG-S-FI             Seed Count: 2290           Purity: 99.94        Seed Size:

  264670        Bean OSU 5630 Pro                                     G75656           400.00 SP            7249.66          32000 KS             1.1400/KS          36480.00      N
               Treat. Bag80KaHMNS4B                                   G75656
                Bean OSU 5630
  Bean OSU 6630                                                                                      Product Form: Raw Treatment: Agris,Cap,tors,Met,Rano.Thir
 Germ: 85.0        Germ Dale: 04/02/19        Phyto: 84455-18BG-S-FI              Seed Count: 2200           Purity: 99,94        Seed Size:

  264670       Bean OSU 5630 Pro                                      G73758             44,00 SP            674.85          3520 KS              1.1400/KS           4012.80      N
               Treat, Bag 80 Ks HM NS 4B                             PL205140
               Bean OSU 5630
 Bean OSU 6830                                                                                       Product Form: Raw Treatment: Agris,Cap,Lors.Mel.Ranc.Thir
 Germ: 90.0        Germ Date: 02/06/19        Phyto:            Seed Count: 2366           Purity: 99.99        Seed Size:
                                                                                                                                            GOODS VALUE:            104332.80




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
             Our Bank Details                          These commodities, technology or software were exported Irom the United States In accxjrdance with the Export
                                                       Administration Regulations. Diversion Contrary to the United States Law Prohibited.
   Payment Remittance:                                 The terms and conditions set forth on the face hereof and on the reverse side of this sheet conslilute the sole Terms and
   HM.CLAUSE, INC.                                     Conditions,
   260 Cousteau Place, bureau 210
   Davis, CA 95618
   Attn; Accounts Receivable
 Cust No.               100794
 Invoice No.            18204867                                                                                                 TOTAL NET DUE                           104332.80
 Invoice Date:          05/10/19
 Due Date               07/31/19
                                                                                                             Amount to deduct if paid by 06/09/19                            521.66
 Amount                 104332.80 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tal: (530) 747-3700 Fax: (630) 747-3794
IRS: XX-XXXXXXX                                                                                      No         returns without authorization.                 Business Unit of
                                                                                                                                                               iimagrain


                                                                                                                                         Exhibit B, Page 27 of 38
                                         Case 19-62584-pcm11                              Doc 322              Filed 10/31/19
   HIVl® CLAUSE                                                                                                           INVOICE
               [IHARRis      ^SCLAUSE                                             Invoice No.         18204868
               Imp.Pan                                                                                                                                        Date:        05/10/19
                                                                                                                                                              Page:             1/1



      Sold To’ Norpac Foods Inc                                                         Shio To' Norpac Foods Inc
             ' Attn: Jim Gill                                                              ^   ' 6175 Aviation Way
               930 W, Washington                                                                 Silverton OR 97381
               Staylon OR 97383                                                                  UNITED STATES
               UNITED STATES

           Gust No. 100794                                                                   Gust No.        101427
           VAT No.
  Incoterms    EXW NAMPA                                            Oust. Service       Allison Lopez
  Gross Weight 0 00                                                 Phone
  Net Weight 915.75                                                 Salesperson         Metzger, Kurt
  Packages     0                                                    Phone               503 930-4619
                                                                    Currency            USD
  Delivery Inst.          TRK-DRIVER TO CALL JIM 24 HRS                                 Payment             .5% / 30 Net 7/31
                          PRIOR TO DELIVERY 503-932-0002                                Payment Instrument: Checks/Cheques

                                                                  Batch Lot                            Net Weight         Total                                                     T
       item                        Description                                       Quantity                                            Unit Price            Amount               a
                                                                  Prod Lot                                 KG             Quantity                                                  X

   Order No.           932117 SO                Customer PO No.                                                 Mode ofTransport: Truckload
   Delivery No.        1923354                  on 05/09/19                from           NAM                  Carrier:

   263854        Corn PLACER SH2 Pro                                G88291            50.00 SP           915,75           5000 KS              4,2300/KS          21150.00      N
                 Treat. Bag 100 Ks HM S 4P                        PL206619
                 Sweet Corn PLACER F1
  Sweet Corn PLACER F1                                                                             Product Form: Raw Treatment: Red/Me,Cap,Th.Dif,Car,Ran,tors
  Germ: 93.0        Germ Date; 04/30/19        Phyto: P-18-0705         Seed Count 2477            Purity: 99,99     Seed Size: LR
                                                                                                                                           GOODS VALUE;            21150,00
  200010         Freight Charges                                                        1.00 EA                                   1            1250,0000            1250.00     N




               KG - Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = V\/elght Packaging Unit
             Our Bank Details                       These commodities, lephnology or software were exported from the United States in accordance with the Export
   Payment Remittance:                              Administration Regulations, Diversion Contrary to the United States Law Prohibited.
   HM.CLAUSE, INC.                                  The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
                                                    Conditions.
   260 Cousteau Place, bureau 210
   Davis, CA9S618
   Attn: Accounts Receivable
 Cust No.              100794
 Invoice No.           18204868                                                                                              TOTAL NET DUE                             22400.00
 Invoice Date:         05/10/19
 Due Date              07/31/19
                                                                                                         Amount to deduct if paid by 06/09/19                             105.75
 Amount                22400,00 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 • Tel: (630) 747-3700 Fax: (630) 747-3794
IRS: XX-XXXXXXX
                                                                                                        No returns without authorization.                  i Busiudss Unit of
                                                                                                                                                            Limagrain<3j»’


                                                                                                                          Exhibit B, Page 28 of 38
                                          Case 19-62584-pcm11                            Doc 322              Filed 10/31/19
                    CLAUSE                                                                                                INVOICE
                ARRIS          ICLAUSE                                            Invoice No.        18205006                                             Date;        05/20/19
               «P.P.AN                    tl{*t

                                                                                                                                                          Page:             1/2



      Sold Jo: Norpac Foods Inc                                                       ShipTo’ Darrell Haggerty
                   Attn: Jim Gill                                                                    c/o Norpac
                   930 W. Washington                                                                 142 McNulty Rd
                   Stayton OR 97383                                                                  Toledo WA 98591
                   UNITED STATES                                                                     UNITED STATES

          Gust No. 100794                                                                 Gust No.         101427
          VAT No.
 Incoterms   EXW NAMPA                                               Gust. Service    Allison Lopez
 Gross Weight 20112.43                                               Phone
 Net Weight   19149,17                                               Salesperson      Metzger, Kurt
 Packages    1057                                                    Phone            503 930-4619
                                                                     Currency         USD
 Delivery Inst.          trk-driver to call Darrell 24                                Payment             .5% / 30 Net 7/31
                         hrs prior to dely 360-410-7160                               Payment Instrument; Checks/Cheques

                                                                                                      Net Weight                                                               T
       Item                        Description                      “"‘■ot         Quantity                               clanly        Unit Price         Amount              A
                                                                                                          KG                                                                   X

  Order No.              911807 SO                 Customer PC No.                                            Mode of Transport: Truckload
  Delivery No.           1928814                   on 06/17/19             from        NAM                    Carrier:

  875607        Bean CASSIDY Pro                                     G74159         300,00 SP          5373,46           30000 KS            1,6400/KS        49200.00         N
                Untr. BaglOOKsHM NS                                 PL183238
                Bean CASSIDY
  Bean CASSIDY                                                                                    Product Form: Raw      Treatment; No Treatment
  Germ: 90,0        Germ Date: 02/20/19           Phyto: 81974-17BG-S-FI       Seed Count: 2532         Purity: 99.99          Seed Size:

  875607         Bean CASSIDY Pro                                    G74160         166,00 SP         3127,35            16600 KS            1.6400/KS        27224.00 N
                 Untr, BaglOOKsHM NS                                PL183237
                 Bean CASSIDY
  Bean CASSIDY                                                                                    Product Form; Raw      Treatment: No Treatment
 Germ: 66.0         Germ Date: 02/20/19           Pnylo: 78772-17BG-S-FI       Seed Count: 2407         Purity: 99.99         Seed Size:

  875607        Bean CASSIDY Pro                                     G74161        251.00 SP          4635,27            25100 KS            1,6400/KS        41164.00 N
                Untr, Bag 100 Ks HM NS                              PL192533
                Bean CASSIDY
  Bean CASSIDY                                                                                    Product Form: Raw      Treatment: No Treatment
 Germ; 85,0         Germ Dale: 02/20/19           Phylo: 76773-17BG-S-FS       Seed Count: 2456          Purity: 99,98         Seed Size:

  866897         Bean PIKE Pro                                       G75429         40.00 SP           731.40             4000 KS            1.6400/KS          6560,00 N
                Untr. BaglOOKsHM NS                                 PL183488
                Bean PIKE
 Bean PIKE                                                                                        Product Form: Raw      Treatment; No Treatment
 Germ: 90.0         Germ Date: 02/21/19           Phyto: 787B0-17BG-S-FS       Seed Count; 2481          Purity: 90.99         Seed Size;

  875607        Bean CASSIDY Pro                                     G79217        300.00 SP          5281.69            30000 KS            1.6400/KS        49200.00 N
                Untr. Bag 100 Ks HM NS                              PL207200
                Bean CASSIDY
 Bean CASSIDY                                                                                     Product Form: Raw Treatment: No Treatment
 Germ; 90,0         Germ Date: 03/12/19           Phyto: 84174-18BG-R-FI       Seed Count: 2576         Purity: 99.97         Seed Size;
                                                                                                                                        GOODS VALUE:         173348.00




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 96618 - Tel; (630) 747-3700 Fax: (630) 747-3794 260 Cousteau                                     ; Businesis Unit ol
Place, Suite 210 Davis, CA 95616 - Tel: (630) 747-3700 Fax: (530) 747-3794
IRS; 94.169523S                                                                                                                                          Limagrain

                                                                                                                                    Exhibit B, Page 29 of 38
                                          Case 19-62584-pcm11                         Doc 322              Filed 10/31/19
  HM® CLAUSE                                                                                                             INVOICE
              [IHARRIS         fCLAUSE
              IMP.RAM          XitiiriiLi 1M»I
                                                                                 invoice No.          18205006                                               Date:        05/20/19
                                                                                                                                                             Page:             2/2



      Sold TO' Norpac Foods Inc                                                         ShipTo’       Darrell Haggerty
                   Attn: Jim Gill                                                                     do Norpac
                   930 W. Washington                                                                  142 McNulty Rd
                   Stayton OR 97383                                                                   Toledo WA 98591
                   UNITED STATES                                                                      UNITED STATES

           Oust No. 100794                                                                  Gust No.        101427
          VAT No.

 Incoterms   EXW NAMPA                                             Gust. Service        Allison Lopez
 Gross Weight 20112,43                                             Phone
 Net Weight   19149,17                                             Salesperson          Metzger, Kurt
 Packages    1057                                                  Phone                503 930-4619
                                                                   Currency             USD
 Delivery Inst.          trk-driver to call Darrell 24                                  Payment             .5% / 30 Net 7/31
                         hrs prior to dely 360-410-7160                                 Payment Instrument: Checks/Cheques


       Item                                                       Batch Lot                            Net Weight          Total
                                    Description                                     Quantity                                             Unit Price           Amount
                                                                  Prod Lot                                 KG             Quantity

  200010        Freight Charges                                                        1,00 EA                                                 1400.0000            1400,00     N




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit

            Our Bank Details                        These commodities, technology or software were exported from the United Stales In accordance with the Export
  Payment Remittance:                               Administration Regulations, Diversion Contrary to the United States Law Prohibited.
                                                    The terms and conditions set forth on tha face hereof and on the reverse side of this sheet constitute the sole Terms and
  HM.CUUSE, INC.                                    Condllions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn: Accounts Receivable

 Cust No.                100794
 Invoice No.             18205006                                                                                             TOTAL NET DUE                           174748.00
 Invoice Date:           05/20/19
 Due Date                07/31/19
                                                                                                         Amount to deduct if paid by 06/19/19                             866.74
 Amount                  174748,00 USD
HM.CLAUSE, INC. 260 Cousleau Place, Suite 210 Davis, CA S5618 - Tel; (630) 747-3700 Fax: (530) 747-3794
IRS: XX-XXXXXXX                                                                                                                                             BusiHes.s Unit of
                                                                                                        No returns without authorization.
                                                                                                                                                            Limagrain^’


                                                                                                                          Exhibit B, Page 30 of 38
                                          Case 19-62584-pcm11                            Doc 322              Filed 10/31/19
  HM 9 CLAUSE                                                                                                            INVOICE
               ARRIS            ICLAUSE                                         Invoice No.         1820S035                                            Date:       05/21/19
               p^R A ^               (itit
                                                                                                                                                        Page:            1/2



     .'?old To' Norpao Foods Inc                                                     Ship To: Darrell Haggerty
                Attn: Jim Gill                                                                c/oNorpac
                930 W. Washington                                                             142 McNulty Rd
                Slayton OR 97383                                                              Toledo WA 98591
                UNITED STATES                                                                 UNITED STATES

          Gust No. 100794                                                                Gust No,        101427
          VAT No.
 Incoterms   EXW NAMPA                                            Gust. Service      Allison Lopez
 Gross Weight 8270.17                                             Phone
 Net Weight   7867.70                                             Salesperson        Metzger, Kurt
 Packages    433                                                  Phone              503 930-4619
                                                                  Currency           USD
 Delivery Inst.          trk-driver to call Darrell 24                               Payment             .5% / 30 Not 7/31
                                                                                     Payment Instrument: Checks/Cheques

                                                                                                    Net Weight            Total                                               T
       Item                         Description                  8=“^”'          Quantity                                             Unit Price         Amount               A
                                                                                                        KG               Quantity                                             X

  Order No.              911807 SO              Customer PO No.                                             Mode of Transport: Truckload
  Delivery No,           1928810                on 05/17/19              from         NAM                   Carrier:

  875607       Bean CASSIDY Pro                                   G74159          133.00 SP          2382.23            13300 KS            1,6400/KS       21812.00      N
               Untr. Bag 100 Ks HM NS                            PL183238
               Bean CASSIDY
  Bean CASSIDY                                                                                   Product Fotm; Raw      Treatment: No Treatment
 Germ; 90.0         Germ Dale: 02/20/19        Phylo: 61974-17BQ-S-FI        Seed Count: 2532          Purity: 99.99         Seed Size:

  866897       Bean PIKE Pro                                      G75429          200,00 SP          3656,98            20000 KS            1.6400/KS       32800.00      N
               Untr. BaglOO Ks HM NS                             PL183488
               Bean PIKE
 Bean PIKE                                                                                       Product Form: Raw      Treatment: No Treatment
 Germ: 90,0         Germ Date: 02/21/19        Phyto; 78780-17BG-S-FS         Seed Count; 2481          Purity; 99.99         Seed Size:

  866897       Bean PIKE Pro                                      G75429          100.00 SP          1828.49            10000 KS            1,6400/KS       16400,00      N
               Untr. BaglOO Ks HM NS                             PL183488
               Bean PIKE
 Bean PIKE                                                                                       Product Form: Raw Treatment: No Treatment
 Germ: 90.0         Germ Date: 02/21/19        Phyto: 78780-17BG-S-FS        Seed Count: 2481          Purity: 99,99     Seed Size:
                                                                                                                                    GOODS VALUE:             71012.00




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel; (630) 747-3700 Fax: (630) 747-3794 260 Cousteau                                    Business Unit ol /j :;
Place, Suite 210 Davis, CA 95816 - Tel: (530) 747-3700 Fax: (630) 747-3704
mS: XX-XXXXXXX                                                                                                                                          Lirnagrain <9i'


                                                                                                                                   Exhibit B, Page 31 of 38
                                          Case 19-62584-pcm11                       Doc 322              Filed 10/31/19
    HM* CLAUSE                                                                                                            INVOICE
                Harris       ff}, {CLAUSE
                MPRAN        %                                                    Invoice No.          18205035                                                □ate:       05/21/19
                                                                                                                                                              Page:                 2/2



       SoldTo' Norpac Foods Inc                                                          Ship To:      Darrell Haggerty
               Attn: Jim Gill                                                                          c/o Norpac
               930 W. Washington                                                                       142 McNulty Rd
               Stayton OR 97383                                                                        Toledo WA 98691
               UNITED STATES                                                                           UNITED STATES
            CustNo, 100794                                                                   CustNo.         101427
           VAT No.

  Incoterms    EXW NAMPA                                            Gust. Service        Allison Lopez
  Gross Weight 8270.17                                              Phone
  Net Weight   7867,70                                              Salesperson          Metzger, Kurt
  Packages     433                                                  Phone                503 930-4619
                                                                    Currency             USD
  Delivery Inst.       trk-driver to call Darrell 24                                     Payment             ,5% / 30 Net 7/31
                       hrs prior to dely 360-410-7160                                    Payment Instrument: Checks/Cheques

        Item                        Description                   Batch Lot                            Net Weight          Total
                                                                  Prod Lot           Quantity              KG                            Unit Price            Amount
                                                                                                                          Quantity

   200010         Freight Charges                                                       1.00 EA                                                  784.8000             784.80 N




               KG-Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
             Our Bank Details
                                                    These commodities, lechnology or software were exported from the United Slates In accordance with the Exoort
   Payment Remittance:                              Adm nistrallon Regulations. Diversion Contrary to the United States Law Prohibited.
   HM.CLAUSE, INC.                                  The terms and conditions set forth on the face hereof and on the reversa side of this sheet constitute the sole Terms and
                                                    uonouions.
   260 Cousteau Place, bureau 210
   Davis, CA 95618
   Attn: Accounts Receivable


 Invoice No.           18205035                                                                                              TOTAL NET DUE                             71796.80
 Invoice Date:         05/21/19
 Due Date              07/31/19
 Amount                71796.80 USD                                                                      Amount to deduct if paid by 06/20/19                             355.06
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 ■ Tel: (530) 747-3700 Fax: (630) 747-3794
   . XX-XXXXXXX                                                                                                         ^jt^out authorization.              Business Unit of    :
                                                                                                                                                            Limagrain <3ji‘


                                                                                                                          Exhibit B, Page 32 of 38
                                         Case 19-62584-pcm11                            Doc 322              Filed 10/31/19
  HM®
  ->
      CLAUSE                                                                                                               INVOICE
               IHARRIS           Clause 1                                         Invoice No.         18205036                                                 Date;       05/21/19
               ifAP.P.A.N                                                                                                                                      Page:            1/2




      Sold To' Norpac Foods Ino                                                        Ship TO'       Castle Rock Farms
               Attn: Jim Gill                                                                 '       c/o Norpac
               930 W. Washington                                                                      75906 Threemile Rd
               Stayton OR 97383                                                                       Boardman OR 97818
               UNITED STATES                                                                          UNITED STATES

          Gust No. 100794                                                                  Gust No.          101427
          VAT No,
 Incoterms   EXW NAMPA                                               Oust. Service     Allison Lopez
 Gross Weight 7537.68                                                Phone
 Net Weight   7126.57                                                Salesperson       Metzger, Kurt
 Packages    450                                                     Phone             503 930-4619
                                                                     Currency          USD
 Delivery Inst.             trk-driverto call Maria                                    Payment             .5% / 30 Net 7/31
                            24 hr prior deiy 541-314-2440                              Payment Instrument: Checks/Cheques

                                                                  Batch Lot
       Item                            Description                Prod Lot
                                                                                    Quantity                               olSty                                                     1
  Order No,                 926753 SO            Customer PO No. FY19 REGULAR                                  Mode of Transport: Truckload
  Delivery No.              1928875              on 05/17/19               from          NAM                   Carrier:

  263849          Corn SOCKEYE SU Pro                                 G84048        272.00 SP           4291.57           27200 KS               3.1800/KS          86496.00 N
                  Treat. Bag 100 Ks HM S 4P                          PL205568
                  Sweet corn SOCKEYE F1
  SweetcornSOCKEYEFI                                                                               Pfoducl Form: Raw      Treatment: Red/Me,Cap,Th,Dir.Car.Ran,tors
  Germ; 07.0          Gemi Date:         9      Phyto: 83380-iaCO-R-FI          Seed Count: 2875          Purity: 90.90          Seed Size: MF

  263849          Corn SOCKEYE SU Pro                                 G79438          16.00 SP           291.33            1600 KS               3.1800/KS            5088.00    N
                  Treat, Bag 100 Ks HM S 4P                          PL205568
                  Sweet corn SOCKEYE FI
  Sweet com SOCKEYE Ft                                                                             Product Form: Raw Treatment: Red/Me,Cap,Th.Dlf,Car, Ran.lors
 Germ: 98,0            Germ Date: 12/04/18      Phyto; 83380-18CO-R-FI          Seed Count: 2491          Purity: 99.99         Seed Size: MR

  263849          Com SOCKEYE SU Pro                                  G74660           6.00 SP            94.19             600 KS               3.1800/KS            1908.00    N
                  Treat. Bag 100 Ks HM S 4P                          PL205567
                  Sweet com SOCKEYE FI
 Sweet corn SOCKEYE FI                                                                             Product Form: Raw      Treatment: Red/Me,Cap,Th,Dif,Car,Ran,tors
 Germ: 95.0      Germ Date; 02/25/19            Phyto: HM.010-2018         Seed Count: 2889           Purity: 99.98         Seed Size: MF

  263849          Corn SOCKEYE SU Pro                                 G84047        155,00 SP          2433,28            15500 KS               3.1800/KS          49290.00     N
                  Treat. Bag 100 Ks HM S 4P                       PL205567
                  Sweet corn SOCKEYE FI
 Sweet com SOCKEYE F1                                                                              Product Form: Raw      Treatment: Red/Me,Cap.Th.Dif,Car,Ran,tors
 Germ: 100.0            Germ Date: 04/02/19      Phyto: HM-010-2018         Seed Count: 2889           Purity: 99,98         Seed Size: MF

  215730          Com SOCKEYE SU Pro                                  G80589           1.00 SP            16.19             100 KS               3.1700/KS             317.00    N
                  Treat. Bag 100 Ks HM S AV                       PL205566
                  Sweet corn SOCKEYE FI
 Sweet corn SOCKEYE F1                                                                             Product Form: Raw      Treatment: Alleg, Cap, Lors, Thrm, Vita
 Germ: 05,0           Germ Date: 01/22/19       Phyto: CO-CORN-2018            Seed Count: 2802         Purity: 99.99          Seed Size; LF
                                                                                                                                          GOODS VALUE:              143099,00




               KG = Kilogram          KS = Thousand Seeds     MS = Million Seeds         SP = Seed Packaging Unit WP = \A/eight Packaging Unit

HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 05S18 - Tel: (530) 747-3700 Fax: (630) 747-3794 260 Cousteau                                          Business Unit bt
Place, Suite 210 Davis. CA 96618 - Tel: (630) 747-3700 Fax: (530) 747-3794
IRS: XX-XXXXXXX                                                                                                                                               Limagrain (S'


                                                                                                                                      Exhibit B, Page 33 of 38
                                              Case 19-62584-pcm11                      Doc 322              Filed 10/31/19
   HM® CLAUSE                                                                                                            INVOICE
               Harris         ICLAUSE                                            Invoice No.          18205036                                               Date;        05/21/19
       Slip:>^RAfH            f          iit«k

                                                                                                                                                             Page:             2/2



      Sold To’ Norpac Foods Inc                                                         Ship To' Castle Rock Farms
               Attn: Jim Gill                                                                    c/o Norpac
               930 W. Washington                                                                 75908 Threemile Rd
               Slayton OR 97383                                                                  Boardman OR 97818
               UN TED STATES                                                                     UNITED STATES
           Gust No. 100794                                                                  Gust No.        101427
           VAT No.
 Incoterms   EXW NAMPA                                             Oust Service         Allison Lopez
 Gross Weight 7537.68                                              Phone
 Net Weight   7126.57                                              Salesperson          Metzger, Kurt
 Packages    450                                                   Phone                503 930-4619
                                                                   Currency             USD
 Delivery Inst.         trk-driver to call Marla                                        Payment             .5% / 30 Net 7/31
                        24 hr prior dely 541-314-2440                                   Payment Instrument; Checks/Cheques

       Item                        Description                    Batch Lot         Quantity          Net Weight           Total
                                                                  Prod Lot                                KG              Quantity       Unit Price           Amount

  200010        Freight Charges                                                        1.00 EA                                                  715.2000             715,20     N




              KG = Kilogram KS = Thousand Seeds MS = Miliion Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
            Our Bank Details                        These commodities, technology or software were exported from the United States in accordance wllh the Export
  Payment Remittance:                               Administration Regulations, Diversion Contrary to the United States Law Prohibited.
  HM.CLAUSE, INC.                                   The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
                                                    Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn: Accounts Receivable
 Cust No.               100794
 Invoice No.            18205036                                                                                             TOTAL NET DUE                            143814,20
 Invoice Date:          05/21/19
 Due Date               07/31/19
                                                                                                         Amount to deduct if paid by 06/20/19                             715.50
 Amount                 143814,20 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 96618 - Tel: (530) 747-3700 Fax: (630) 747-3794
IRS: XX-XXXXXXX                                                                                                                                             BusinessUnitpl L V
                                                                                                        No returns without authorization.
                                                                                                                                                            Limagrain CSji'


                                                                                                                         Exhibit B, Page 34 of 38
                                         Case 19-62584-pcm11                            Doc 322              Filed 10/31/19
   HM® CLAUSE                                                                                                                     INVOICE
                 ARRIS          ICLAUSE                                                   Invoice No.         18205162
                                ^   11 nil ■ It r II                                                                                                                  Date:       05/30/19
                                                                                                                                                                      Page:            1/1



       Sold To' Norpac Foods Ino                                                                Ship To' Skagit Valley Farm
                AUn: Jim Gill                                                                     ^      23159 HoweyRd.
                930 W, Washington                                                                        Sedro Woolley WA 98284
                Stayton OR 97383                                                                         UNITED! I STATE
                                                                                                                       TES
                UNITED STATES
           Oust No. 100794                                                                          Gust No.        101427
           VAT No.

  Incoterms   EXW NAMPA                                                    Oust. Service        Allison Lopez
  Gross Weight 957.91                                                      Phone
  Net Weight   912.24                                                      Salesperson          Metzger, Kurt
  Packages    50                                                           Phone                503 930-4619
                                                                           Currency             USD
  Delivery Inst.         TRU-driver call 24 hr prior to                                         Payment            .5% / 30 Net 7/31
                         dely Mike 360-708-2849                                                 Payment Instrument:Checks/Cheques


       Item                          Description                         Batch Lot                            Net Weight           Total
                                                                         Prod Lot           Quantity              KG                             Unit Price           Amount
                                                                                                                                  Quantity

   Order No.           937127 SO                        Customer PO No.                                                Mode of Transport: Less than Truckload
   Delivery No.        1935808                          on 05/28/19                from          NAM                   Carrier: HM.Clause, Inc.

   866897        Bean PIKE Pro                                             G75431            50.00 SP            912.24           5000 KS              1,5800/KS           7900,00 N
                 Untr, Bag 100 Ks HM NS                                   PL183488
                 Bean PIKE
  Bean PIKE                                                                                                Product Form: Raw Treatment: No Treatment
  Germ: 90,0        Germ Date: 02/22/19                Phyto: 78730-17BG-S-FS           Seed Count: 2486          Purity; 99,99        Seed Size:
                                                                                                                                                                    GOODS VALUE:           7900,00
  200010         Freight Charges                                                               1.00 EA                                   1              256,1700            256,17 N




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit

             Our Bank Details                              These commodities, technology or software were exported from the United States in accordance with the Export
   Payment Remittance;                                     Administration Regulations. Diversion Contrary to the United States Law Prohibited.
                                                           The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute (he sola Terms and
   HM.CLAUSE, INC.                                         Conditions.
   260 Cousteau Place, bureau 210
   Davis, CA 95618
   Attn: Accounts Receivable

 Gust No.              100794
 invoice No.           18205162                                                                                                      TOTAL NET DUE                              8156.17
 Invoice Date;         05/30/19
 Due Date              07/31/19
                                                                                                                  Amount to deduct if paid by 06/29/19                             39.50
 Amount                8156.17 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 • Tel: (530) 747-3700 Fax: (530) 747-3794
IRS: XX-XXXXXXX                                                                                                                                                    Buainess.Unit of
                                                                                                               No returns without authorization.
                                                                                                                                                                   Limagrarn


                                                                                                                                             Exhibit B, Page 35 of 38
                                             Case 19-62584-pcm11                               Doc 322              Filed 10/31/19
   HM a CLAUSE                                                                                                                 INVOICE
               [IHARHIS        fCLAUSE                                                Invoice No.         18205294
               iMP.W.K                     l«l»S
                                                                                                                                                                 Date:        06/05/19
                                                                                                                                                                 Page:             1/1



      Sold TO' Norpac Foods Inc                                                             Shin To‘ Norpac Foods Inc
               Attn; Jim Gill                                                                 ^    ■ 6175 Aviation Way
               930 W, Washington                                                                     Silverton OR 97381
               Stayton OR 97383                                                                      UNITED STATES
               UNITED STATES
           Gust No. 100794                                                                      Gust No,        101427
           VAT No,

 Incoterms           EXW NAMPA                                         Gust. Service        Allison Lopez
 Gross Weight        3996.86                                           Phone
 Net Weight          4150.43                                           Salesperson          Metzger, Kurt
 Packages            238                                               Phone                503 930-4619
                                                                       Gurrency             USD
 Delivery Inst.           TRK - SHP 2 LOADS EARLY FEB                                       Payment             ,5% / 30 Net 7/31
                          CALL 1 WK B4 SHIPPING                                             Payment instrument: Ghecks/Gheques

                                                                      Batch Lot                           Net Weight            Total        i i„i(                                 T
       Kern                          Descriplion                      Prod Lot                                KQ*^             Quantity      Unit Price           Amount            A
                                                                                                                                                                                    X

  Order No.            910859 SO                    Customer PO No. ACE FY19                                       Mode of Transport: Truckload
  Delivery No.            1941402                   on 06/05/19                from          NAM                   Carrier:

  264670         Bean OSU 5630 Pro                                      G75856          229.00 SP           4150,43           18320 KS             1.1400/KS          20884.80 N
                 Treat. Bag 80 Ks HM NS 4B                              G75656
                 Bean OSU 5630
  Bean OSU EG30                                                                                       Product Form: Raw Treatment: Agris,Cap,Lore,Met,Ratio,Thlr
  Germ: 66.0         Germ Dale; 04/02/19           Phyto: 84456-18BG-S-FI          Seed Count; 2290           Purity; 99.94        Seed Size:
                                                                                                                                                GOODS VALUE:          20884.80




               KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
             Our Bank Details                           These commodities, technology or software were exported from the United Slates In accordance with the Export
   Payment Remittance:                                  Administration Regulations, Diversion Contrary to the United Stales Law Prohibited,
   HM.CLAUSE, INC.                                      The terms and conditions set forth on the face hereof and on tha reverse side of this sheet constitute the sole Terms and
                                                        Conditions.
   260 Cousteau Place, bureau 210
   □avis, CA 95618
   Attn: Accounts Receivable

 Gust No.                 100794
 Invoice No.              18205294                                                                                                TOTAL NET DUE                            20884,80
 Invoice Date:            06/05/19
 Due Date                 07/31/19
                                                                                                             Amount to deduct if paid by 07/05/19                             104,42
 Amount                   20884.80 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (530) 747-3794
IRS: XX-XXXXXXX                                                                                                                                                ' Busiiicss Unitof L 7
                                                                                                            No returns without authorization.
                                                                                                                                                                Limagrain


                                                                                                                             Exhibit B, Page 36 of 38
                                           Case 19-62584-pcm11                              Doc 322              Filed 10/31/19
  HM® CLAUSE                                                                                                           INVOICE
                         pfr^ALISE                                             Invoice No.         18205295                                                Date:       06/05/19
                                                                                                                                                           Page;             1/1




     Sold To’ Norpac Foods Inc                                                       Ship To: Norpac Foods Inc
              Attn: Jim Gill                                                                  6175 Aviation Way
              930 W. Washington                                                               Sllverton OR 97381
              Stayton OR 97383                                                                UNITED STATES
              UNITED STATES

          Oust No. 100794                                                                Gust No.         101427

         VAT No.

 Incoterms   EXW NAMPA                                          Gust. Service        Allison Lopez
 Gross Weight 0.00                                              Phone
 Net Weight   145.40                                            Salesperson          Metzger, Kurt
 Packages    0                                                  Phone                503 930-4619
                                                                Currency             USD
 Delivery Inst.      TRU-driver to call Jim 24 hrs                                   Payment             .5% / 30 Net 7/31
                     prior to dely 503-932-OD02                                      Payment Instrument: Checks/Cheques

                                                               Batch Lot                            Net Weight          Total
      Item                       Description                                     Quantity               KG                            Unit Price           Amount
                                                               Prod Lot                                                Quantity

  Order No.         937515 SO                Customer PO No. FY19 REGULAR                                   Mode of Transport: Truckload
  Delivery No.       1941402                 on 06/05/19                from          NAM                   Carrier:

  898035       Corn DRIVER SH2 Pro                               G92215             9.00 SP            145.40           900 KS              3.9800/KS           3582.00 N
               Untr. Bag 100 Ks HM S                           PL205426
               Sweet corn DRIVER FI
 Sweet corn DRIVER FI                                                                           Product Form: Raw Treatment: No Treatment
 Germ: 94.0       Germ Date: 04/04/19       Phyto: 83421-18CO-R-FI           Seed Count 2808           Purity: 99.95        Seed Size: LF
                                                                                                                                         GOODS VALUE:            3582.00

  200010       Freight Charges                                                       1.00 EA                                   1             656.9800             656,98 N




              KG = Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit

            Our Bank Details                     These commodities, technology or software were exported from the United States In accordance with the Export
  Payment Remittance:                            Administration Regulations. Diversion Contrary to the United States Law Prohibited.
                                                 The terms and conditions set forth on the face hereof end on the reverse side of this sheet constitute the sole Terms and
  HM.CLAUSE, INC.                                Conditions.
  260 Cousteau Place, bureau 210
  Davis, CA 95618
  Attn: Accounts Receivable

 CustNo.             100794
 Invoice No,         18205295                                                                                              TOTAL NET DUE                              4238.98
 Invoice Date;       06/05/19
 Due Date            07/31/19
                                                                                                        Amount to deduct if paid by 07/05/19                             17.91
 Amount              4238.98 USD
HM.CLAUSE, INC. 260 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (530) 747-3700 Fax: (630) 747-3794
IRS; 94.169S235                                                                                      No returns without authorization.                   Business Unit of ,
                                                                                                                                                          Limagrain (S'


                                                                                                                                   Exhibit B, Page 37 of 38
                                        Case 19-62584-pcm11                         Doc 322              Filed 10/31/19
   HM® CLAUSE                                                                                                            INVOICE
               ilHAf
                  ARRIS         ICLAUSE                                           Invoice No.         18205417                                                Date;
               Iwp.                                                                                                                                                       06/17/19
                                                                                                                                                              Page:              1/1



      Sold TO' Norpac Foods Inc                                                         Ship To-            Farming
             ■ Attn: Jim Gill                                                                          c/o Hermiston Foods, Inc.
               930 W, Washington                                                                       2250 South Highway 395
               Stayton OR 97383                                                                        Hermiston OR 97838
               UNITED STATES                                                                           UNITED STATES
           Gust No. 100794                                                                   Gust No.        101427
           VAT No.

 Incotorms   EXW NAMPA                                             Gust. Service        Allison Lopez
 Gross Weight 757.32                                               Phone
 Net Weight   720.43                                               Salesperson          Metzger, Kurt
 Packages    31                                                    Phone                503 930-4619
                                                                   Currency             USD
 Delivery Inst.           TRU-driver to call 24 hrs                                     Payment             .5% / 30 Net 7/31
                          prior dely Steve 541-561-8819                                 Payment Instrument: Checks/Cheques


       item                          Description                  Batch Lot         Quantity           Netj^ight          Jotel^^^       Unit Price           Amount
                                                                  Prod Lot                                                Quantity

  Order No.             940775 SO               Customer PO No. FY19 REGUUR                                    Mode of Transport; Less than Truckload
  Delivery No.            1948427               on 06/14/19                from          NAM                   Carrier:

  263849         Corn SOCKEYE SU Pro                               G85206             31.00 SP           720.43          3100 KS               3.1800/KS            9858,00 N
                 Treat. Bag 100 Ks HM S 4P                        PL205568
                 Sweet corn SOCKEYE FI
  Sweet corn SOCKEVEF1                                                                             Product Form: Raw Treatment: Red/ftde,Cap,Th,Dlf,Car,Ran,tors
  Germ: 98.0          Germ Date: 04/04/19      Phyto: 83380-1SCO-R-FI           Seed Count: 1952          Purity: 99.99    Seed Sire: LR
                                                                              ____________________________________                          GOODS VALUE:            9858.00
  200010         Freight Charges                                                       1.00 EA                                    1             159,8900              159,89 N




               KG - Kilogram KS = Thousand Seeds MS = Million Seeds SP = Seed Packaging Unit WP = Weight Packaging Unit
             Our Bank Details                       These commodities, technology or software were exported from the United States In accordance with the Export
   Payment Remittance:                              Administration Regulations, Diversion Contrary to the United Slates Law Prohibited.
   HM,CLAUSE, INC.                                  The terms and conditions set forth on the face hereof and on the reverse side of this sheet constitute the sole Terms and
                                                    Conditions,
   260 Cousteau Place, bureau 210
   Davis, CA 96618
   Attn; Accounts Receivable

 Cust No.                 100794
 Invoice No.              18205417                                                                                            TOTAL NET DUE                            10017.89
 Invoice Date;            06/17/19
 Due Date                 07/31/19
                                                                                                           Amount to deduct if paid by 07/17/19                             49.29
 Amount                   10017.89 USD
HM.CLAUSE, INC, 280 Cousteau Place, Suite 210 Davis, CA 95618 - Tel: (630) 747-3700 Fax: (530) 747-3794
IRS: XX-XXXXXXX
                                                                                                         No returns without authorization.                  Business Unit, of
                                                                                                                                                            Limagrain (S'


                                                                                                                          Exhibit B, Page 38 of 38
                                            Case 19-62584-pcm11                          Doc 322              Filed 10/31/19
            EXHIBIT C




Case 19-62584-pcm11   Doc 322   Filed 10/31/19
     Fill in this information to identify the case


 Debtor               NORPAC Foods, Inc.

 United States Bankruptcy Court for the:                                    District of Ocegon
                                                                                           (State)
 Case number        19-62584_______




Official Form 410
Proof of Claim                                                                                                                                                         04/19
Read the instructions before filiing out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



              Identify the Claim

1. Who is the current
   creditor?                        HM.Clause, Inc.
                                   Name of the current creditor (the person or entity to be paid for this claim)

                                   Other names the creditor used with the debtor      __________________

2.     Has this claim been         □ No
       acquired from
       someone else?               n Yes.          From whom?

3. Where should                    Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                     different)
   payments to the                 HM.Clause, Inc.                                                                 Coface North America insurance Company
   creditor be sent?
                                   Vartan Saravla                                                                  Amy Schmidt
                                   260 Cousteau Place, Suite 210                                                   650 College Road, East, Suite 200
       Federal Rule of             Davis, California 95618
       Bankruptcy Procedure
                                                                                                                   Princeton, N1 08540
       (FRBP) 2002(g)


                                   Contact phone                                                                   Contact phone   _______________________
                                              vartan■saraviaghmclause.com
                                   Contact email                                 Contact email                                     amy. schmidtlgcoface. com
                                   (see summary page for notice party information)
                                   Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4.     Does this claim
       amend one already
                                □ No
       filed?
                                m        Yes.      Claim number on court claims registry (if known) .87_                                Filed on 9/12/2019
                                                                                                                                                   MM   /   DD   /   YYYY

5.     Do you know if     .. □
       anyone else has filed
                                         No

       a proof of claim for             Yes. Who made the earlier filina7            Coface North America Insurance Company
       this claim?




     Official Form 410


                                           Case 19-62584-pcm11
                                                                           Proof of Claim


                                                                                            Doc 322
                                                                                                                              llllllllllilllllll
                                                                                                                               1962584191031000000000031
                                                                                                                   Filed 10/31/19
               Give Information About the Claim as of the Date the Case Was Filed

6.   Do you have any number          IZI   No
     you use to identify the
     debtor?                        tJ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:


7.   How much is the claim?         S 1.793.704.69                                . Does this amount include interest or other charges?
                                                                                    Q No
                                                                                    □     Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                               charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the         Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
           '                        Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                    Limit disclosing information that is entitled to privacy, such as health care information.


                                    Goods Sold - Vegetable Seed pr^oducts



9.   Is all or part of the claim
     secured?
                                    □      No

                                    EZI Yes, The claim is secured by a lien on property.
                                                 Nature or property:

                                                l~l Real estate: If the claim is secured by the debtor's principle residence, file a Mortgage Proof of
                                                    Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                n Motor vehicle
                                                CZI   other. Describe:           Inventory and proceeds thereof

                                                 Basis for perfection:          Statutory Lien
                                                 Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                 example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                                 has been filed or recorded.)



                                                 Value of property:                            $ unknown
                                                 Amount of the claim that is secured:         $1,793.704.69
                                                 Amount of the claim that is unsecured:        $0.00_________ _(The sum of the secured and unsecured
                                                                                                               amount should match the amount in line 7.)


                                                Amount necessary to cure any default as of the date of the petition:             $_


                                                Annual Interest Rate (virhen case was filed),            %
                                                □ Fixed
                                                n Variable

10. Is this claim based on a               nq
    lease?
                                    □      Yes. Amount necessary to cure any default as of the date of the petition.

11. Is this claim subject to a      rTI Mn
    right of setoff?
                                    n Yes. Identify the property:.




 Official Form 410                                                 Proof of Claim
                                                                                                                         lllllllll
                                                                                                                        1962584191031000000000031
                                                                                                                                                               II
                                     Case 19-62584-pcm11                         Doc 322           Filed 10/31/19
12. Is all or part of the claim
    entitled to priority under
                                     IZI No
    11 U.S.C. § 507(a)?              n Yes. Check all that apply:                                                                                    Amount entitled to priority

    A claim may be partly                   r~| Domestic support obligations (including alimony and child support) under
    priority and partly                         11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                           ^
    nonpriority. For example,
    in some categories, the                 n Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                     or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                         5
    entitled to priority.
                                            □ Wages, salaries, or commissions (up to $13,650*) earned within 180
                                              days before the bankruptcy petition is filed or the debtor’s business ends,                        $
                                              whichever is earlier. 11 U.S.C. § 507(a)(4).

                                            □     Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).
                                                                                                                                                 $_
                                            □     Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              ^

                                            Q Other. Specify subsection of 11 U.S.C. § 507(a)(                  ) that applies.                  $_____________________

                                            * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim      [2 No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                     n Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                       days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                       the ordinary course of such Debtor’s business. Attach documentation supporting such claim.




           Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                 S2      I am the creditor.
FRBP 9011(b).
                                  n       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP
5005(a)(2) authorizes courts
                                  □       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
to establish local rules
specifying what a signature
                                  □       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
Is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim couid be
fined up to $500,000,             I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§152,157, and
                                  Executed on date         10/31/2019______
3571.                                                          MM / DD / YYYY




                                   /S/Vartan Saravia
                                      Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                   Vartan Saravia
                                                         First name                              Middle name                            Last name

                                  Title                  General Counsel
                                  Company                 HM.Clause, Inc,
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.

                                  Address




                                  Contact phone                                                                                Email




Official Form 410


                                          Case 19-62584-pcm11
                                                                      Proof of Claim


                                                                                        Doc 322               Filed 10/31/19
                                                                                                                                             llllllllllllllllllllllllllllll
                                                                                                                                       1962584191031000000000031
                                          KCC ePOC Electronic Claim Filing Summary
                                   For phone assistance: Domestic (877) 634-7180 | International (424) 236-7225
        Debtor:
                19-62584 - NORPAC Foods, Inc.
       District;
               District of Oregon, Eugene Division
       Creditor:                                                         Has Supporting Documentation:
               HM.Clause, Inc.                                                  Yes, supporting documentation successfully uploaded
               Vartan Saravia                                            Related Document Statement;
               260 Cousteau Place, Suite 210
                                                                        Has Related Claim;
               Davis, California, 95618                                        Yes
               Phone:                                                   Related Claim Filed By:
                                                                               Coface North America Insurance Company
              Phone 2:
                                                                        Filing Party:
              Fax:
                                                                                Creditor
              Email:
              vartan.saravia@hmclause.com
       Disbursement/Notice Parties:
              Coface North America insurance Company                            Coface North America Insurance Company
              Amy Schmidt                                                       Amy Schmidt
              650 College Road, East, Suite 200                                 650 College Road East, Suite 200

              Princeton, NJ, 08540                                              Princeton, NJ, 08540
              Phone:                                                            Phone:
              Phone 2:                                                          Phone 2:
              Fax:                                                              Fax:
              E-mail:                                                           E-mail:
              amy.schmidt@coface.com                                            amu.schmidt@coface.com
              DISBURSEMENT ADDRESS
       Other Names Used with Debtor:                                    Amends Claim:
                                                                                Yes-87, 9/12/2019
                                                                        Acquired Claim:
                                                                                No
       Basis of Claim:                                                  Last 4 Digits:        Uniform Claim Identifier:
              Goods Sold - Vegetable Seed products                              No
       Total Amount of Claim:                                           Includes Interest or Charges:
              1,793,704,69                                                      No
       Has Priority Claim:                                              Priority Under;
              No
       Has Secured Claim:                                               Nature of Secured Amount:
              Yes: 1,793,704.69                                                Other
       Amount of 503(b)(9):                                                    Describe: Inventory and proceeds thereof
              No                                                        Value of Property:
       Based on Lease:                                                         unknown
              No                                                        Annual Interest Rate:
       Subject to Right of Setoff:
                                                                        Arrearage Amount:
              No
                                                                        Basis for Perfection:
                                                                               Statutory Lien
                                                                        Amount Unsecured:
                                                                               0.00
       Submitted By:
              Vartan Saravia on 31-Oct-2019 5:44:24 p.m. Eastern Time
       Title;
              General Counsel
       Company:
              HM.CIause, Inc.


VN: 779D104333418D61F8B523FADF8FFAA2
                                                                                                              Exhibit C, Page 4 of 4
                                   Case 19-62584-pcm11                  Doc 322          Filed 10/31/19
